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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                     :
                                              :
         v.                                   :       Case No.: 1:22-cr-00162-TNM-1
                                              :
 MATTHEW BUCKLER                              :
                                              :
                                              :
         Defendant.                           :

                     GOVERNMENT’S SENTENCING MEMORANDUM

        The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully submits this sentencing memorandum in connection with

the above-captioned matter. For the reasons set forth herein, the government requests that this

Court sentence Matthew Buckler to thirty days of jail, thirty-six months of probation, 60 hours of

community service, $500 in restitution, and the mandatory $10 special assessment.

   I.         Introduction

        The defendant, Matthew Buckler, a 19-year-old student, participated in the January 6, 2021

attack on the United States Capitol—a violent attack that forced an interruption of the certification

of the 2020 Electoral College vote count, threatened the peaceful transfer of power after the 2020

Presidential election, injured more than one hundred law enforcement officers, and resulted in

more than one million dollars of property damage.

        Buckler pleaded guilty to one count of violating 40 U.S.C. § 5104(e)(2)(G), Parading,

Demonstrating, or Picketing in a Capitol Building. As explained herein, a period of active

incarceration is appropriate in this case because Buckler (1) climbed up the wall of the U.S. Capitol

to gain access to the Upper West Terrace; (2) entered the Capitol through the breached

Parliamentarian (Fire) door, (3) re-entered the U.S. Capitol through a broken window adjacent to


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the Senate Wing Door among a large group of rioters who overwhelmed police officers attempting

to secure that entrance; (4) made his way with other rioters to Senator Merkley’s hideaway office

where Rioters vaped at the Senator’s conference table, damaged the Senator’s property and stole

his laptop, (5) joined a large group of rioters inside the Crypt, chanting; (6) took several selfie

videos of himself inside the Capitol, celebrating the riot, and (7) was less than completely candid

with law-enforcement about his involvement with the riots. This conduct merits a sentence of

actual jail time rather than probation, even though Buckler did not personally engage in violence

or property destruction, and even though he accepted responsibility after charges were brought

against him. Despite Buckler’s young age, absence of prior contacts with the criminal justice

system, and acceptance of responsibility for his actions, the government is recommending a brief

period of incarceration.

         The Court must also consider that Buckler’s conduct on January 6, like that of thousands

of others, took place in the context of a large and violent riot that relied on numbers to overwhelm

law enforcement, breach the Capitol, and disrupt the proceedings. But for his actions alongside so

many others, the riot likely would have failed to breach the Capitol building and delay the election

certification vote for hours. See United States v. Matthew Mazzocco, 1:21-cr-00054 (TSC), Tr.

10/4/2021 at 25 (“A mob isn't a mob without the numbers. The people who were committing those

violent acts did so because they had the safety of numbers.”) (statement of Judge Chutkan). Here,

Buckler’s participation in a riot that actually succeeded in halting the Congressional certification

combined with Buckler’s forced entry into the Capitol Building renders a period of home detention

both necessary and appropriate in this case.

   II.      Factual and Procedural Background

                            The January 6, 2021 Attack on the Capitol



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       To avoid unnecessary exposition, the government refers to the general summary of the

attack on the U.S. Capitol. See ECF 24 (Statement of Offense), at 1-6. As this Court knows, a riot

cannot occur without rioters, and each rioter’s actions – from the most mundane to the most violent

– contributed, directly and indirectly, to the violence and destruction of that day. With that

backdrop we turn to Buckler’s conduct and behavior on January 6.

                   Buckler’s Role in the January 6, 2021 Attack on the Capitol

       On January 6, 2021, Buckler traveled to Washington, D.C., from his residence in La Plata,

Maryland to attend the “Stop the Steal” rally. Buckler traveled with his friend, members of that

friend’s family, and Buckler’s mother. Buckler was four months past his eighteenth birthday. His

friend was sixty days shy of his eighteenth birthday. The group listened to the speeches and then

moved towards the Capitol. When they arrived at the Capitol, Buckler and his friend separated

from the rest of their party. Buckler and his friend climbed up the wall to gain entry to the Upper

West Terrace area of the U.S. Capitol. Buckler then made entry through the Senate Wing Door.

       Buckler breached the U.S. Capitol two times. Initially, Buckler breached the

Parliamentarian (Fire) door at approximately 2:48 pm. After he exited with other rioters, he

breached the Senate Wing door a few minutes later. Buckler captured both points of entry in the

videos he took on his cellphone.




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             Parliamentarian (Fire) Door                   Senate Wing Door


In one of the Exhibits, Buckler can be heard as he pans his cell phone words to the effect of

“yeah . . . let’s get in.” See Buckler video, attached as Exhibit A.

       At approximately 2:48 p.m., Buckler entered the United States Capitol through the

Parliamentarian (Fire) door, a door that had previously been violently breached.




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From there, Buckler was near the Parliamentarians Office.




After a few minutes, he left that office and exited the U.S. Capitol with other rioters.




After exiting, Buckler re-entered the U.S. Capitol a second time through a broken-out window of

the Senate Wing door. Buckler entered through the Senate Wing door window just a few

minutes after that door area had been breached for a second time.




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From the Senate Wing door area, Buckler turned right and walked towards the Crypt area.




Buckler also took video of himself in that area.




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At around 3:00 p.m., Buckler left the foyer area near the Senate Wing Door and, with several

other rioters, made his way down a hallway to Senator Merkley’s hideaway office. Buckler

entered the room and stood next to other rioters who sat down at Senator Merkley’s conference

table. Dozens of protestors were present in the room and some, but not Mr. Buckler, were

smoking marijuana and engaging in destructive behavior. Buckler watched with at least 20 other

rioters in the room as rioter’s sat at the senator’s conference table and used vape pens to smoke

during an Electoral College certification proceeding to formally elect the next President of the

United States.




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At 11:36 p.m. on January 6, Senator Merkley posted a three-minute-long video to Twitter

showing the damage that his office incurred during the riot. The video is available on Facebook

https://www.facebook.com/ABCNews/videos/sen-jeff-merkley-shows-damage-done-to-office-

after-pro-trump-mob-vandalized-capi/222464836136603/, and a copy is being provided to the

Court as Exhibit B. Senator Merkley explained that rioters appear to have “smashed the door

virtually off its hinges,” even though the door was unlocked. He said that the rioters “left a

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Trump flag here to mark their presence.” The senator narrated how the rioters “stole the laptop

that was sitting on the table,” and panned across his conference table—the same table near which

Buckler had been standing several hours earlier—to show the damage and disarray. He then

zoomed in on ashes on a table to discuss how the rioters appear to have been “smoking

something” in the office. In Senator Merkley’s words, one can “count this office trashed.”

       After he left Senator Merkley’s hideaway office, Buckler apparently made his way to the

Crypt and took video footage of himself in the Crypt area of the Capitol.




In one of those videos, Buckler joins with the crowd chanting repeatedly. In another video, which

appears to be taken in the Crypt, Buckler states: “We in this bitch. We in this bitch.” Buckler was

in the Capitol Building for more than ten minutes and exited through the Memorial door.

       At some point on January 6, 2021, Buckler climbed up on top of a United Site Services

portable toilet near the Capitol grounds.



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                                        Buckler’s Interview

       Buckler was interviewed by FBI agents on January 29, 2021 and again on April 30, 2021,

when a search warrant was executed. At the January 29, 2021 interview, Buckler said that he was

a High School senior, and intended to attend college the next year. He said he was in Washington

D.C. on January 6, 2021 to attend a rally organized to show support for President Donald Trump.

Buckler said his intent in traveling to Washington D.C. was solely to attend the President’s rally

with his mother and was not aware that the crowd would march to and eventually enter the Capitol

Building. Buckler said he did not travel to Washington D.C. with the intent to break into the Capitol

Building. Buckler said he was dressed in a black jacket over a white hoodie and wore a black

“Trump” hat. When the crowd from the President’s rally started to march towards the Capitol

Building, Buckler moved with the crowd. Once at the Capitol Building, Buckler said he got “swept

up in the crowd” and entered the building. According to Buckler, when he got to the doors of the

Capitol Building they were already open, and he walked in freely.         This statement is at least

partially contradicted by his demonstrated conduct in climbing into the Capitol through a broken

window. By that time Buckler had been separated from his mother, who did not enter the Capitol

Building. Buckler estimated that he was in the Capitol Building for approximately ten minutes.


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He said he was initially caught up with the crowd and took photographs and videos on his cell

phone while in the Capitol Building, but no longer had the images or videos. Buckler also said

that he did not go into any rooms once inside the Capitol Building. He said he “went right” into a

“bigger area.” Buckler said he did not enter any offices. This statement is, of course, contradicted

by the photos of him in Senator Merkley’s hideaway office. After about ten minutes, Buckler said

he was not as caught up in the energy of the crowd and realized he did not want to be in the Capitol

Building. Buckler said he also wanted to leave Washington D.C. before it got dark, so he exited

the Capitol Building.

          Buckler was interviewed by FBI agents a second time on April 30, 2021 at the Charles

County Sheriff’s Office with his mother present. Buckler had his iPhone in his possession and

voluntarily turned it over to the agents, along with the access code for the phone. The Bucklers

then returned to their home, where they showed the agents the jacket and hoodie Buckler wore

when he entered the Capitol on January 6, 2021. Buckler stated that, of the group with which he

attended the rally/protest (consisting of himself, his mother and another family), only he and his

friend physically entered the Capitol Building that day. The friend has not been charged owing to

his age on January 6.

                                   The Charges and Plea Agreement

          On September 9, 2021, Buckler was charged by complaint with violating 18 U.S.C.

§§ 1752(a)(1) and (2) and 40 U.S.C. §§ 5104(e)(2)(D) and (G). On May 10, 2022, Buckler was

charged by Information with a violation of 40 U.S.C. § 5104(e)(2)(G). On May 27, 2022, he

pleaded guilty to Count One of the Information, charging him with a violation of 40 U.S.C.

§ 5104(e)(2)(G). By plea agreement, Buckler agreed to pay $500 in restitution.

   III.      Statutory Penalties



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          Buckler faces sentencing on a single count of violating 40 U.S.C. § 5104(e)(2)(G). As

noted by the plea agreement, Buckler faces up to six months of imprisonment and a fine of up to

$5,000.1 Buckler must also pay restitution under the terms of his plea agreement. See 18 U.S.C. §

3663(a)(3); United States v. Anderson, 545 F.3d 1072, 1078-79 (D.C. Cir. 2008). As this offense

is a Class B Misdemeanor, the Sentencing Guidelines do not apply. 18 U.S.C. § 3559; U.S.S.G.

§1B1.9.

    IV.      Sentencing Factors Under 18 U.S.C. § 3553(a)

          In this misdemeanor case, sentencing is guided by 18 U.S.C. § 3553(a), which identifies

the factors a court must consider in formulating the sentence. Some of those factors include: the

nature and circumstances of the offense, § 3553(a)(1); the history and characteristics of the

defendant, id.; the need for the sentence to reflect the seriousness of the offense and promote

respect for the law, § 3553(a)(2)(A); the need for the sentence to afford adequate deterrence,

§ 3553(a)(2)(B); and the need to avoid unwarranted sentence disparities among defendants with

similar records who have been found guilty of similar conduct. § 3553(a)(6). In this case, as

described below, the Section 3553(a) factors weigh in favor of home detention.

             A. The Nature and Circumstances of the Offense

          The attack on the U.S. Capitol, on January 6, 2021 is a criminal offense unparalleled in

American history that defies comparison to other events. It represented a grave threat to our

democratic norms and was the only the second time in our history when the building was literally

occupied by hostile participants.




1
 Because Buckler has pled guilty to a petty offense, a term of supervised release is not authorized.
See 18 U.S.C. § 3583(b)(3).
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       While each defendant should be sentenced based on their individual conduct, this Court

should note that each person who entered the Capitol on January 6 without authorization did so

under the most extreme of circumstances. As they entered the Capitol, they would—at a

minimum—have crossed through numerous barriers and barricades and heard the throes of a mob.

Depending on the timing and location of their approach, they also may have observed extensive

fighting with law enforcement officials and smelled chemical irritants in the air. No rioter was a

mere tourist that day.

       Moreover, each defendant who breached the Capitol was part of the mob. As Buckler

joined the mob, he identified with those around him. He, with others, screamed, and shouted to, in

then-President Trump’s words, “Stop the Steal.” Buckler’s “presence was part of the floodwaters

that drowned the Capitol in insurrection and destruction.” United States v. Jesus Rivera, No. 21-

060 (CKK) (Jun. 17, 2022) ECF No. 62, pg. 15.

       Additionally, while looking at Buckler’s individual conduct, the Court should look to a

number of aggravating and mitigating critical factors, to include: (1) whether, when, how the

defendant entered the Capitol building; (2) whether the defendant encouraged violence;

(3) whether the defendant encouraged property destruction; (4) the defendant’s reaction to acts of

violence or destruction; (5) whether during or after the riot, the defendant destroyed evidence; (6)

the length of the defendant’s time inside of the building, and exactly where the defendant traveled;

(7) the defendant’s statements in person or on social media; (8) whether the defendant cooperated

with, or ignored commands from law enforcement officials; and (9) whether the defendant

demonstrated sincere remorse or contrition. While these factors are not exhaustive nor dispositive,

they help to place each defendant on a spectrum as to their fair and just punishment. Had Buckler

personally engaged in violence or destruction, he would be facing additional charges and/or



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penalties associated with that conduct. The absence of violent or destructive acts on Buckler’s part

is therefore not a mitigating factor in misdemeanor cases.

       Buckler entered the Capitol twice, first through the Parliamentarian (Fire) door and then

through a broken window near the Senate Wing door not long after it was breached. Police officers

were generally present on the Upper West Terrace. There were also clear signs of violent entry.

The windows to the door were smashed out, and it was through one of those smashed out windows

that Buckler gained entry.

           B. Buckler’s History and Characteristics

       Buckler has no criminal history. The government requested a pre-sentence investigation

report, but the Court declined to require that one be prepared. According to state and local

databases covering the D.C. area as well as local Court records in and around the areas where

Buckler lives and attends college, Buckler does not have criminal charges. Buckler graduated

from St. Mary’s Ryken High School in 2021. He is currently enrolled at Shenandoah University

in Winchester, Virginia, and is a member of the soccer team.

       The government is not aware that Buckler has any known health problems.

       This is the rare case where the mitigating factors of Buckler’s age and lack of criminal

record counsel against a sentence of incarceration.

           C. The Need for the Sentence Imposed to Reflect the Seriousness of the Offense
              and Promote Respect for the Law

       The attack on the U.S. Capitol building and grounds was an attack on the rule of law. “The

violence and destruction of property at the U.S. Capitol on January 6 showed a blatant and

appalling disregard for our institutions of government and the orderly administration of the




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democratic process.”2 As with the nature and circumstances of the offense, this factor supports a

sentence of incarceration, as it will in most cases, including misdemeanor cases, arising out of the

January 6 riot. See United States v. Joshua Bustle and Jessica Bustle, 21-cr-238-TFH, Tr. 08/24/21

at 3 (“As to probation, I don’t think anyone should start off in these cases with any presumption

of probation. I think the presumption should be that these offenses were an attack on our

democracy and that jail time is usually -- should be expected”) (statement of Judge Hogan).

            D. The Need for the Sentence to Afford Adequate Deterrence

         Deterrence encompasses two goals: general deterrence, or the need to deter crime

generally, and specific deterrence, or the need to protect the public from further crimes by this

defendant. 18 U.S.C. § 3553(a)(2)(B-C), United States v. Russell, 600 F.3d 631, 637 (D.C. Cir.

2010).

         General Deterrence

         The demands of general deterrence weigh in favor of incarceration, as they will for nearly

every case arising out of the violent riot at the Capitol. Indeed, general deterrence may be the most

compelling reason to impose a sentence of incarceration. The violence at the Capitol on January 6

was intended by many of the rioters to interfere, and did interfere, with one of the most important

democratic processes we have: the peaceful transfer of power to a newly elected President. As

noted by Judge Moss during sentencing, in United States v. Paul Hodgkins, 21-cr-188-RDM:

         [D]emocracy requires the cooperation of the governed. When a mob is prepared to
         attack the Capitol to prevent our elected officials from both parties from performing
         their constitutional and statutory duty, democracy is in trouble. The damage that
         [the defendant] and others caused that day goes way beyond the several-hour delay
         in the certification. It is a damage that will persist in this country for decades.


2
 Federal Bureau of Investigation Director Christopher Wray, Statement before the House
Oversight      and      Reform      Committee       (June     15,     2021),   available           at
https://oversight.house.gov/sites/democrats.oversight.house.gov/files/Wray%20
Testimony.pdf
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Tr. at 69-70. Indeed, the attack on the Capitol means “that it will be harder today than it was seven

months ago for the United States and our diplomats to convince other nations to pursue democracy.

It means that it will be harder for all of us to convince our children and our grandchildren that

democracy stands as the immutable foundation of this nation.” Id. at 70.

       The gravity of these offenses demands deterrence. This was not a protest. See United States

v. Paul Hodgkins, 21-cr-188-RDM, Tr. at 46 (“I don’t think that any plausible argument can be

made defending what happened in the Capitol on January 6th as the exercise of First Amendment

rights.”) (statement of Judge Moss). And it is important to convey to future potential rioters—

especially those who intend to improperly influence the democratic process—that their actions

will have consequences. There is possibly no greater factor that this Court must consider.

       Specific Deterrence

       Buckler’s actions in forcibly entering the Capitol during the riot clearly demonstrate the

need for specific deterrence for this defendant. Home detention, significantly less intrusive than

an active jail sentence, is warranted here.

                       The Need to Avoid Unwarranted Sentencing Disparities

       As the Court is aware, the government has charged hundreds of individuals for their roles

in this one-of-a-kind assault on the Capitol, ranging from unlawful entry misdemeanors, such as

in this case, to assault on law enforcement officers, to conspiracy to corruptly interfere with

Congress.3 Each offender must be sentenced based on their individual circumstances, but with the

backdrop of the January 6 riot in mind. Moreover, each offender’s case will exist on a spectrum



3
  Attached to this sentencing memorandum is a table providing additional information about the
sentences imposed on other Capitol breach defendants. That table also shows that the requested
sentence here would not result in unwarranted sentencing disparities.

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that ranges from conduct meriting a probationary sentence to crimes necessitating years of

imprisonment. The misdemeanor defendants will generally fall on the lower end of that spectrum,

but misdemeanor breaches of the Capitol on January 6, 2021 were not minor crimes. A

probationary sentence should not become the default.4 See United States v. Anna Morgan-Lloyd,

1:21-cr-00164 (RCL), Tr. 6/23/2021 at 19 (“I don’t want to create the impression that probation is

the automatic outcome here because it’s not going to be.”) (statement of Judge Lamberth); see also

United States v. Valerie Ehrke, 1:21-cr-00097 (PFF), Tr. 9/17/2021 at 13 (similar statement by

Judge Friedman).

       The government and the sentencing courts have made meaningful distinctions between

offenders. Those who engaged in felonious conduct are generally more dangerous, and thus,

treated more severely in terms of their conduct and subsequent punishment. Those who trespassed,

but engaged in aggravating factors, merit serious consideration of institutional incarceration. Those

who trespassed, but engaged in less serious aggravating factors, deserve a sentence more in line

with minor incarceration or home detention. Buckler’s conduct clearly falls in the latter category.

       Buckler has pleaded guilty to one count of violating 40 U.S.C. § 5104(e)(2)(G), Parading,

Demonstrating, or Picketing in a Capitol Building. This offense is a Class B misdemeanor. 18

U.S.C. § 3559. Certain Class B and C misdemeanors and infractions are “petty offenses,” 18


4
   Early in this investigation, the Government made a very limited number of plea offers in
misdemeanor cases that included an agreement to recommend probation, including in United
States v. Anna Morgan-Lloyd, 1:21-cr-00164(RCL); United States v. Valerie Elaine Ehrke, 1:21-
cr-00097(PFF); and United States v. Donna Sue Bissey, 1:21-cr-00165(TSC). The government is
abiding by its agreements in those cases, but has made no such agreement in this case. Cf. United
States v. Rosales-Gonzales, 801 F.3d 1177, 1183 (9th Cir. 2015) (no unwarranted sentencing
disparities under 18 U.S.C. § 3553(a)(6) between defendants who plead guilty under a “fast-track”
program and those who do not given the “benefits gained by the government when defendants
plead guilty early in criminal proceedings”) (citation omitted).


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U.S.C. § 19, to which the Sentencing Guidelines do not apply, U.S.S.G. 1B1.9. The sentencing

factors set forth in 18 U.S.C. § 3553(a), including “the need to avoid unwarranted sentence

disparities among defendants with similar records who have been found guilty of similar conduct,”

18 U.S.C.A. § 3553(6), do apply, however.

       For one thing, although all the other defendants discussed below participated in the Capitol

breach on January 6, 2021, many salient differences—such as how a defendant entered the Capitol,

how long he remained inside, the nature of any statements he made (on social media or otherwise),

and whether he has prior military service—help explain the differing recommendations and

sentences. And as that discussion illustrates, avoiding unwarranted disparities requires the courts

to consider not only a defendant’s “records” and “conduct” but other relevant sentencing criteria,

such as a defendant’s expression of remorse or cooperation with law enforcement. See United

States v. Hemphill, 514 F.3d 1350, 1365 (D.C. Cir. 2008) (no unwarranted disparity regarding

lower sentence of codefendant who, unlike defendant, pleaded guilty and cooperated with the

government).

       Even in Guidelines cases, sentencing courts are permitted to consider sentences imposed

on co-defendants in assessing disparity. E.g., United States v. Knight, 824 F.3d 1105, 1111 (D.C.

Cir. 2016); United States v. Mejia, 597 F.3d 1329, 1343-44 (D.C. Cir. 2010); United States v. Bras,

483 F.3d 103, 114 (D.C. Cir. 2007). The Capitol breach was sui generis: a mass crime with

significant distinguishing features, including the historic assault on the seat of the legislative

branch of the federal government, the vast size of the mob, the goal of impeding if not preventing

the peaceful transfer of Presidential power, the use of violence by a substantial number of rioters

against law enforcement officials, and the large number of victims. Thus, even though many of the

defendants were not charged as conspirators or as codefendants, the sentences handed down for



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Capitol breach offenses is an appropriate group for purposes of measuring disparity of any future

sentence.

       While no previously sentenced case contains the same balance of aggravating and

mitigating factors present here, other judges of this court have sentenced to a term of incarceration

Capitol breach defendants who spent time in sensitive places within the Capitol. A defendant’s

entry into a sensitive space, such as the Senate Floor or an office, places that defendant in a more

serious category of offenders than defendants who remained in hallways or central, more public

spaces, such as the Rotunda. A defendant who entered a sensitive space took an extra step to

occupy the Capitol and displace Congress and to display the dominance of the mob over the will

of the people. That person’s presence is even more disruptive. An unauthorized individual in a

private office—like Senator Merkley’s hideaway office - poses a greater threat and creates a

greater impediment to members of Congress and staffers just trying to do their jobs than would a

trespasser passing through a hallway. Indeed, this dynamic is aptly described by Senator Merkley

in his recorded video posting where he notes that the rioters “tore things off the wall, including

this Chinese scroll that a very good friend of mine had made by a renowned artist.”

       One of the most famous photographs from January 6 is that of a rioter in Speaker Pelosi’s

office, with his feet on her desk. See Amended Complaint, United States v. Richard Barnett, 21-

cr-38, ECF No. 3, at 2. That photograph has become notorious likely for exactly this reason,

because of what invading the office of a member of Congress represents: a show of intimidation,

an attempted display of power, above and beyond entering the building. Senator Merkley’s

hideaway office was clearly recognizable as a private office, and thus implicates similar concerns.

Again, the government recognizes that upon initially viewing the destruction and misconduct that




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took place in Senator Merkley’s office, after he leaves Buckler goes right back to another area of

the Capitol and engages in his celebratory chanting.

       While no previously sentenced case contains the same balance of aggravating and

mitigating factors present here, other judges of this court have sentenced to a term of incarceration

Capitol breach defendants who spent time in sensitive places within the Capitol. A defendant’s

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private office—like Senator Merkley’s hideaway office—poses a greater threat and creates a

greater impediment to members of Congress and staffers just trying to do their jobs than would a

trespasser passing through a hallway.

       Here, the Court may consider the sentence imposed on Nathan Wayne Entrekin. D.D.C.

No. 21-CR-686 (FYP). Defendant Entrekin, like Buckler, entered the Capitol twice, once through

the Parliamentarian (Fire) door and again through the Senate wing door. Defendant Entrekin, like

Buckler, entered Oregon Senator Jeff Merkley’s Office. Judge Pan sentenced Entrekin to 45 days

of incarceration and three years of probation. The government notes that Entrekin, unlike Buckler,

had a prior criminal history.

       The Court may also consider the sentence imposed on James Bonet. D.D.C. No. 1:21-cr-

00121 (EGS). Defendant Bonet, like Buckler, entered the Capitol through the Senate wing door

area. Unlike Buckler, Bonet entered the Capitol once not twice. Defendant Bonet, like Buckler,

entered Oregon Senator Jeff Merkley’s Office.          Defendant Bonet, unlike Buckler, smoked



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marijuana in Senator Merkley’s office.        Judge Sullivan sentenced Bonet to 90 days of

incarceration, twelve months of supervised release and 200 hours of community service.        The

government notes that Bonet, unlike Buckler, had a prior criminal history. Bonet also pled guilty

to an offense under 18 U.S.C. § 1752(a)(1).

       The Court may also consider the sentence imposed on Felipe Marquez. Marquez, like

Buckler, was present inside the private hideaway office of Senator Merkley, which suffered

substantial damage. Marquez, like Buckler, gained entry through the Senate Wing door, although

Marquez entered through the door. Marquez, like Buckler, walked to the Crypt and was cheering

and screaming as Rioters roamed about. The government acknowledges that Felipe Marquez, who

also entered Senator Merkley’s office, received a sentence of three months’ home detention and

that the government had recommended four months’ incarceration. United States v. Marquez, 21-

cr-136 (RC). Judge Contreras, however, explained that Marquez’s documented mental-health

issues had a “significant influence” on his sentence, and believed that probation would best allow

Marquez to receive mental-health treatment. Marquez, Tr. 12/10/21 at 32, 34, 37. One other

defendant who entered Senator Merkley’s office also received a probationary sentence, but he was

a 68-year-old retiree with no criminal record who was there for less than a minute, and there was

no evidence that he engaged in any flagrant conduct while there. See United States v. Edwards,

21-cr-366 (JEB).

       In any event, the goal of minimizing unwarranted sentencing disparities in § 3553(a)(6) is

“only one of several factors that must be weighted and balanced,” and the degree of weight is

“firmly committed to the discretion of the sentencing judge.” United States v. Coppola, 671 F.3d

220, 254 (2d Cir. 2012). The § 3553(a) factors that this Court assesses are “open-ended,” with the

result that “different district courts may have distinct sentencing philosophies and may emphasize



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and weigh the individual § 3553(a) factors differently; and every sentencing decision involves its

own set of facts and circumstances regarding the offense and the offender.” United States v.

Gardellini, 545 F.3d 1089, 1093 (D.C. Cir. 2008). “[D]ifferent district courts can and will sentence

differently—differently from the Sentencing Guidelines range, differently from the sentence an

appellate court might have imposed, and differently from how other district courts might have

sentenced that defendant.” Id. at 1095.

   V.      The government requests a split sentence and the Court can impose a split
           sentence


        A sentencing court may impose a “split sentence”—“a period of incarceration followed by

period of probation,” Foster v. Wainwright, 820 F. Supp. 2d 36, 37 n.2 (D.D.C. 2011) (citation

omitted)—for a defendant convicted of a federal petty offense. See 18 U.S.C. § 3561(a)(3); see

United States v. Little, 21-cr-315 (RCL), 2022 WL 768685, at *1 (D.D.C. Mar. 14, 2022)

(concluding that “ a split sentence is permissible under law and warranted by the circumstances of

this case); United States v. Sarko, No. 21CR591 (CKK), 2022 WL 1288435, at *1 (D.D.C. Apr.

29, 2022) (explaining why a split sentence is permissible in a petty offense case); United States v.

Caplinger, No. CR 21-0342 (PLF), 2022 WL 2045373, at *1 (D.D.C. June 7, 2022) (“the Court

concludes that a split sentence is permissible for a petty offense and therefore is an option for the

Court in Mr. Caplinger’s case.”); United States v. Smith, 21-cr-290 (RBW), ECF 43 (D.D.C. Mar.

15, 2022) (imposing split sentence); United States v. Meteer, 21-cr-630 (CJN), ECF 37 (D.D.C.

April 22, 2022) (imposing split sentence); United States v. Entrekin, 21-cr-686 (FYP), ECF 34

(D.D.C. May 6, 2022) (imposing split sentence); United States v. Hemphill, 21-cr-555 (RCL), ECF

42 (D.D.C. May 24, 2022) (imposing split sentence); United States v. Buhler, 21-cr-510 (CKK),

ECF 39 (D.D.C. June 1, 2022) (imposing split sentence); United States v. Revlett, 21-cr-281 (JEB),



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(D.D.C. July 7, 2022) (imposing split sentence). In addition, for any defendant placed on probation,

a sentencing court may impose incarceration for a brief interval as a condition of probation under

18 U.S.C. § 3563(b)(10).

    VI.      A sentence imposed for a petty offense may include both incarceration and
             probation.

          A. Relevant Background

          In 1984, Congress enacted the Sentencing Reform Act, which in substantial part remains

the sentencing regime that exists today. See Pub. L. No. 98–473, §§211-212, 98 Stat 1837 (1984),

codified at 18 U.S.C. § 3551 et seq.; see Mistretta v. United States, 488 U.S. 361, 365-66 (1989)

(noting that the Sentencing Reform Act of 1984 wrought “sweeping changes” to federal criminal

sentencing). That legislation falls in Chapter 227 of Title 18, which covers “Sentences.” Chapter

227, in turn, consists of subchapter A (“General Provisions”), subchapter B (“Probation”),

subchapter C (“Fines”), and subchapter D (“Imprisonment).              Two provisions—one from

subchapter A and one from subchapter B—are relevant to the question of whether a sentencing

court may impose a term of continuous incarceration that exceeds two weeks 5 followed by a term

of probation.

          First, in subchapter A, 18 U.S.C. § 3551 sets out “[a]uthorized sentences.” Section 3551(a)

makes clear that a “defendant who has been found guilty of” any federal offense “shall be

sentenced in accordance with the provisions of” Chapter 227 “[e]xcept as otherwise specifically

provided.” 18 U.S.C. § 3551(a). Section 3551(b) provides that a federal defendant shall be

sentenced to “(1) a term of probation as authorized by subchapter B; (2) a fine as authorized by




5
 A period of incarceration that does not exceed two weeks followed by a term of probation is also
permissible under 18 U.S.C. § 3653(b)(10). See Part II infra.

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subchapter C; or (3) a term of imprisonment as authorized by subchapter D.” 18 U.S.C. § 3551(b). 6

As a general matter, therefore, “a judge must sentence a federal offender to either a fine, a term of

probation, or a term of imprisonment.” United States v. Kopp, 922 F.3d 337, 340 (7th Cir. 2019).

       Second, 18 U.S.C. § 3561, the first provision in subchapter B, addresses a “[s]entence of

probation.” As initially enacted, Section 3561 provided that a federal defendant may be sentenced

to a term of probation “unless . . . (1) the offense is a Class A or Class B felony and the defendant

is an individual; (2) the offense is an offense for which probation has been expressly precluded; or

(3) the defendant is sentenced at the same time to a term of imprisonment for the same or a different

offense.” Pub. L. No. 98-473, at § 212; see United States v. Anderson, 787 F. Supp. 537, 539 (D.

Md. 1992) (noting that the Sentencing Reform Act did not permit “a period of ‘straight’

imprisonment . . . at the same time as a sentence of probation”).

       Congress, however, subsequently amended Section 3561(a)(3).              In 1991, Congress

considered adding the following sentence to the end of Section 3561(a)(3): “However, this

paragraph does not preclude the imposition of a sentence to a term of probation for a petty offense

if the defendant has been sentenced to a term of imprisonment at the same time for another such

offense.” H.R. Rep. 102-405, at 167 (1991). Instead, three years later Congress revised Section

3561(a)(3) by appending the phrase “that is not a petty offense” to the end of the then-existing

language. See H.R. Rep. No. 103-711, at 887 (1994) (Conference Report). In its current form,

therefore, Section 3561(a)(3) provides that a defendant “may be sentenced to a term of probation

unless . . . the defendant is sentenced at the same time to a term of imprisonment for the same or a

different offense that is not a petty offense.” 18 U.S.C. § 3561(a)(3).



6
 Section 3551(b) further provides that a sentencing judge may impose a fine “in addition to any
other sentence.” 18 U.S.C. § 3551(b).

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       B. Analysis

       Before Congress passed the Sentencing Reform Act of 1984, sentencing courts could

impose a split sentence on a federal defendant in certain cases. See United States v. Cohen, 617

F.2d 56, 59 (4th Cir. 1980) (noting that a sentencing statute enacted in 1958 had as its “primary

purpose . . . to enable a judge to impose a short sentence, not exceeding sixth months, followed by

probation on a one count indictment”); see also United States v. Entrekin, 675 F.2d 759, 760-61

(5th Cir. 1982) (affirming a split sentence of six months’ incarceration followed by three years of

probation). In passing the Sentencing Reform Act, Congress sought generally to abolish the

practice of splitting a sentence between imprisonment and probation because “the same result”

could be accomplished through a “more direct and logically consistent route,” namely the use of

supervised release as set out in 18 U.S.C. §§ 3581 and 3583. S. Rep. No. 225, 1983 WL 25404,

at *89; accord United States Sentencing Guidelines (“U.S.S.G.” or “Guidelines”) § 5B1.1,

Background. But Congress’s 1994 amendment to Section 3561(a)(3) reinstated a sentencing

court’s authority to impose a split sentence for a petty offense.

       Under 18 U.S.C. § 3561, a defendant “may be sentenced to a term of probation unless . . .

the defendant is sentenced at the same time to a term of imprisonment for the same or a different

offense that is not a petty offense.” 18 U.S.C. § 3561(a)(3). Thus, for any federal offense other

than a petty offense, Section 3561(a)(3) prohibits “imposition of both probation and straight

imprisonment,” consistent with the general rule in Section 3551(b). United States v. Forbes, 172

F.3d 675, 676 (9th Cir. 1999); see United States v. Martin, 363 F.3d 25, 31 (1st Cir. 2004); United

States v. Harris, 611 F. App’x 480, 481 (9th Cir. 2015); Anderson, 787 F. Supp. at 539.

       But the statutory text of 18 U.S.C. § 3561(a)(3) goes further by permitting a court to

sentence a defendant to a term of probation “unless” that defendant “is sentenced at the same



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time to a term of imprisonment for the same or a different offense that is not a petty offense.” 18

U.S.C. § 3561(a)(3). Section 3561 “begins with a grant of authority”—permitting a court to

impose probation—followed by a limitation in the words following “unless.” Little, 2022 WL

768685, at *4. But that limitation “does not extend” to a defendant sentenced to a petty offense.

See id. (“[W]hile a defendant’s sentence of a term of imprisonment may affect a court's ability to

impose probation, the petty-offense clause limits this exception.”).

       It follows that when a defendant is sentenced for a petty offense, that defendant may be

sentenced to a period of continuous incarceration and a term of probation. See United States v.

Posley, 351 F. App’x 807, 809 (4th Cir. 2009) (per curiam). In Posley, the defendant, convicted

of a petty offense, was sentenced to two years of probation with the first six months in prison. Id.

at 808.    In affirming that sentence, the Fourth Circuit concluded that Section 3561(a)(3)

“[u]nquestionably” provided statutory authority to sentence the petty-offense defendant to “a term

of six months of continuous imprisonment plus probation.” Id. at 809; see Cyclopedia of Federal

Procedure, § 50:203, Capacity of court to impose probationary sentence on defendant in

conjunction with other sentence that imposes term of imprisonment (3d ed. 2021) (“[W]here the

defendant is being sentenced for a petty offense, a trial court may properly sentence such individual

to a term of continuous imprisonment for a period of time, as well as a sentence of probation.”)

(citing Posley); see also Wright and Miller, Federal Practice and Procedure, § 547, at n.13 (4th

ed. 2021) (“A defendant may be sentenced to probation unless he . . . is sentenced at the same time

to imprisonment for an offense that is not petty.”) (emphasis added).

       Nor does the phrase “that is not a petty offense” in Section 3561(a)(3) modify only

“different offense.” See Little, 2022 WL 768685, at *5-*6 (concluding that “same” in Section

3561(a)(3) functions as an adjective that modifies “offense”). Section 3561(a)(3) does not state



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“the same offense or a different offense that is not a petty offense,” which would imply that the

final modifier—i.e., “that is not a petty offense”—applies only to “different offense.” The phrase

“that is not a petty offense” is a postpositive modifier best read to apply to the entire, integrated

phrase “the same or a different offense.” See Antonin Scalia & Bryan A. Garner, Reading Law:

The Interpretation of Legal Texts 148 (2012). Had Congress sought to apply the phrase “not a

petty offense” solely to “different offense,” the “typical way in which syntax would suggest no

carryover modification” would be some language that “cut[s] off the modifying phrase so its

backward reach is limited.” Id. at 148-49. And while the indefinite article “a” might play that

role in other contexts (e.g., “either a pastry or cake with icing” vs. “either a pastry or a cake with

icing”), the indefinite article in Section 3561(a)(3) merely reflects the fact that the definite article

before “same” could not naturally apply to the undefined “different offense.” See Little, 2022 WL

768685, at *6 (identifying other statutes and “legal contexts” with the identical phrase that carry

the same interpretation).

        Permitting a combined sentence of continuous incarceration and probation for petty

offenses is sensible because sentencing courts cannot impose supervised release on petty-offense

defendants. See 18 U.S.C. § 3583(b)(3); United States v. Jourdain, 26 F.3d 127, 1994 WL 209914,

at *1 (8th Cir. 1994) (unpublished) (plain error to impose a term of supervised release for a petty

offense). When Congress in 1994 amended the language in Section 3561(a), it again provided

sentencing courts with “latitude,” see S. Rep. 98-225, 1983 WL 25404, at *89, to ensure some

degree of supervision—through probation—following incarceration.

        Section 3551(b)’s general rule that a sentencing court may impose either imprisonment or

probation (but not both) does not preclude a sentencing court from imposing a split sentence under

Section 3561(a)(3) for a petty offense for two related reasons.



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       First, the more specific permission for split sentences in petty offense cases in Section

3561(a)(3) prevails over the general prohibition on split sentences in Section 3551(b). See Morton

v. Mancari, 417 U.S. 535, 550-51 (1974) (“Where there is no clear intention otherwise, a specific

statute will not be controlled or nullified by a general one.”). As noted above, when Congress

enacted the general prohibition on split sentences in Section 3551(b), it had not yet enacted the

more specific carveout for split sentences in petty offense cases in Section 3561(a)(3). That

carveout does not “void” the general prohibition on split sentences in Section 3551(b); rather,

Section 3551(b)’s general prohibition’s “application to cases covered by the specific provision [in

Section 3651(a)(3)] is suspended” as to petty offense cases. Scalia & Garner, supra, at 184. In

other words, Section 3551(b)’s prohibition against split sentences “govern[s] all other cases” apart

from a case involving a petty offense. Id. This interpretation, moreover, “ensures that all of

Congress’s goals set forth in the text are implemented.” Little, 2022 WL 768685, at *8.

       Second, to the extent Section 3551(b)’s general prohibition against split sentences conflicts

with Section 3561(a)(3)’s permission for split sentences in petty offense cases, the latter, later-

enacted provision controls. See Posadas v. Nat’l Bank of N.Y., 296 U.S. 497, 503 (1936) (“Where

provisions in the two acts are in irreconcilable conflict, the later act to the extent of the conflict

constitutes an implied repeal of the earlier one.”); Scalia & Garner, supra, at 327-329. Where a

conflict exists “between a general provision and a specific one, whichever was enacted later might

be thought to prevail.” Id. at 185. “The “specific provision”—here Section 3561(a)(3)—“does

not negate the general one entirely, but only in its application to the situation that the specific

provision covers.” Id. Section 3551(b)’s general prohibition does not operate against the more

specific, later-enacted carveout for split sentences in Section 3561(a)(3).




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       An interpretation of Sections 3551(b) and 3561(a) that a sentencing court “must choose

between probation and imprisonment when imposing a sentence for a petty offense,” United States

v. Spencer, No. 21-cr-147 (CKK), Doc. 70, at 5 (Jan. 19, 2022), fails to accord the phrase “that is

not a petty offense” in Section 3561(a)(3) any meaning. When Congress in 1994 amended Section

3561(a)(3) to include that phrase, it specifically permitted a sentencing court in a petty offense

case to deviate from the otherwise applicable general prohibition on combining continuous

incarceration and probation in a single sentence.       Ignoring that amended language would

improperly fail to “give effect to every clause and word” of Section 3561(a)(3). Marx v. Gen.

Revenue Corp., 568 U.S. 371, 385 (2013).

       Congress’s unenacted language from 1991 does not suggest that a split sentence is available

only where a defendant is sentenced at the same time for two different petty offenses or for two

offenses, at least one of which is a petty offense. For one thing, the Supreme Court has regularly

rejected arguments based on unenacted legislation given the difficulty of determining whether a

prior bill prompted objections because it went too far or not far enough. See Mead Corp. v. Tilley,

490 U.S. 714, 723 (1989) (“We do not attach decisive significance to the unexplained

disappearance of one word from an unenacted bill because ‘mute intermediate legislative

maneuvers’ are not reliable indicators of congressional intent.”) (citation omitted). Moreover,

under that view, every offense other than a petty offense could include some period of

incarceration and some period of supervision (whether that supervision is supervised release or

probation). Yet so long as a defendant was convicted of two petty offenses, that defendant could

be sentenced to incarceration and supervision (in the form of probation). No sensible penal

policy supports that interpretation.




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       It follows that a sentencing court may impose a combined sentence of incarceration and

probation where, as here, the defendant is convicted of a petty offense. Buckler pleaded guilty to

one count of 40 U.S.C. § 5104(e)(2)(G): Parading, Demonstrating, or Picketing in the Capitol

Building, which is a “petty offense” that carries a maximum penalty that does not exceed six

months in prison and a $5,000 fine. See 18 U.S.C. § 19; see United States v. Soderna, 82 F.3d

1370, 1381 n.2 (7th Cir. 1996) (Kanne, J., concurring) (citations omitted) (noting that a petty

offender may face a sentence of up to five years in probation).

    VII.     A sentence of probation may include incarceration as a condition of probation,
             though logistical and practical reasons may militate against such a sentence
             during an ongoing pandemic.

       A. Relevant background

       In 18 U.S.C. § 3563, Congress set out “[c]onditions of probation.” 18 U.S.C. § 3563.

Among the discretionary conditions of probation a sentencing court may impose is a requirement

that a defendant

             remain in the custody of the Bureau of Prisons during nights, weekends or other
             intervals of time, totaling no more than the lesser of one year or the term of
             imprisonment authorized for the offense, during the first year of the term of
             probation or supervised release.

18 U.S.C. § 3563(b)(10). Congress enacted this provision to give sentencing courts “flexibility”

to impose incarceration as a condition of probation in one of two ways. S. Rep. No. 225, 1983

WL 25404, at *98. First, a court can direct that a defendant be confined in “split intervals” over

weekends or at night. Id. Second, a sentencing court can impose “a brief period of confinement”

such as “for a week or two.” Id.7


7
  Section 3563(b)(10)’s legislative history notes that imprisonment as a term of probation was “not
intended to carry forward the split sentence provided in Section 3561, by which the judge imposes
a sentence of a few months in prison followed by probation.” S. Rep. No. 225, 1983 WL 25404,
at *98.

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       B. Analysis

       A sentencing court may impose one or more intervals of imprisonment up to a year (or the

statutory maximum) as a condition of probation, so long as the imprisonment occurs during

“nights, weekends or other intervals of time.” 18 U.S.C. § 3653(b)(10). Although the statute does

not define an “interval of time,” limited case law suggests that it should amount to a “brief period”

of no more than a “week or two” at a time. United States v. Mize, No. 97-40059, 1998 WL 160862,

at *2 (D. Kan. Mar. 18, 1998) (quoting Section 3563(b)(10)’s legislative history described above

and reversing magistrate’s sentence that included 30-day period of confinement as a condition of

probation); accord United States v. Baca, No. 11-1, 2011 WL 1045104, at *2 (C.D. Cal. Mar. 18,

2011) (concluding that two 45-day periods of continuous incarceration as a condition of probation

was inconsistent with Section 3563(b)(10)); see also Anderson, 787 F. Supp. at 538 (continuous

60-day incarceration not appropriate as a condition of probation); Forbes, 172 F.3d at 676 (“[S]ix

months is not the intermittent incarceration that this statute permits.”). Accordingly, a sentence of

up to two weeks’ imprisonment served in one continuous term followed by a period of probation

is permissible under Section 3563(b)(10). 8

       A sentencing court may also impose “intermittent” confinement as a condition of probation

to be served in multiple intervals during a defendant’s first year on probation. 18 U.S.C.

§ 3563(b)(10); see Anderson, 787 F. Supp. at 539. Notwithstanding a sentencing court’s legal

authority to impose intermittent confinement in this manner, the government has refrained from

requesting such a sentence in Capitol breach cases given the potential practical and logistical




8
  Section 3563(b)(10)’s use of the plural to refer to “nights, weekends, or intervals of time” does
not imply that a defendant must serve multiple stints in prison. Just as “words importing the
singular include and apply to several persons, parties, or things,” “words importing the plural
include the singular.” 1 U.S.C. § 1; see Scalia & Garner, supra, at 129-31.
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concerns involved when an individual repeatedly enters and leaves a detention facility during an

ongoing global pandemic. Those concerns would diminish if conditions improve or if a given

facility is able to accommodate multiple entries and exits without unnecessary risk of exposure.



   VIII. Conclusion

       Sentencing requires the Court to carefully balance the § 3553(a) factors. As explained

herein, some of those factors support a sentence of incarceration and some support a more lenient

sentence. Balancing these factors, the government recommends that this Court sentence Matthew

Buckler to thirty days of jail, thirty-six months of probation, 60 hours of community service, $500

in restitution, and the mandatory $10 special assessment. Such a sentence protects the community,

promotes respect for the law, and deters future crime by imposing a jail sentence, but not for a

lengthy period, as a consequence of his behavior, while recognizing his acceptance of

responsibility.



                                             Respectfully submitted,

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       EXHIBIT A
(Video provided via USAfx)




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       EXHIBIT B
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       EXHIBIT C
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       EXHIBIT D
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       EXHIBIT E
(Video provided via USAfx)




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Table 1: Cases in which the government recommended a probation sentence without home detention9

    Defendant         Case Number               Offense of Conviction           Government Recommendation             Sentence I
    Name
    Morgan-Lloyd,     1:21-CR-00164-RCL         40 U.S.C. § 5104(e)(2)(G)       36 months’ probation                  36 months
    Anna                                                                        40 hours community service            120 hours
                                                                                $500 restitution                      $500 restit
    Ehrke, Valerie    1:21-CR-00097-PLF         40 U.S.C. § 5104(e)(2)(G)       36 months’ probation                  36 months
                                                                                40 hours community service            120 hours
                                                                                $500 restitution                      $500 restit
    Bissey, Donna     1:21-CR-00165-TSC         40 U.S.C. § 5104(e)(2)(G)       36 months’ probation                  14 days’ in
                                                                                40 hours community service            60 hours c
                                                                                $500 restitution                      $500 restit
    Hiles, Jacob      1:21-CR-00155-ABJ         40 U.S.C. § 5104(e)(2)(G)       36 months’ probation                  24 months
                                                                                60 hours community service            60 hours c
                                                                                $500 restitution                      $500 restit
    Wangler,          1:21-CR-00365-DLF         40 U.S.C. § 5104(e)(2)(G)       36 months’ probation                  24 months
    Douglas                                                                     40 hours community service            60 hours c
                                                                                $500 restitution                      $500 restit
    Harrison, Bruce   1:21-CR-00365-DLF         40 U.S.C. § 5104(e)(2)(G)       48 months’ probation                  24 months
                                                                                40 hours community service            60 hours o
                                                                                $500 restitution                      $500 restit




Table 2: Cases in which the government recommended a probation sentence with home detention
    Defendant         Case Number               Offense of Conviction           Government Recommendation             Sentence I
    Name
    Bustle, Jessica   1:21-CR-00238-TFH         40 U.S.C. § 5104(e)(2)(G)       3 months’ home detention              2 months’
                                                                                36 months’ probation                  24 months
                                                                                40 hours community service            40 hours c
                                                                                $500 restitution                      $500 restit
    Bustle, Joshua    1:21-CR-00238-TFH         40 U.S.C. § 5104(e)(2)(G)       30 days’ home detention               30 days’ h
                                                                                36 months’ probation                  24 months
                                                                                40 hours community service            40 hours c
                                                                                $500 restitution                      $500 restit

9
  Early in this investigation, the Government made a very limited number of plea offers in misdemeanor cases that
included an agreement to recommend probation in United States v. Anna Morgan-Lloyd, 1:21-cr-00164(RCL); United
States v. Valerie Elaine Ehrke, 1:21-cr-00097(PFF); United States v. Donna Sue Bissey, 1:21-cr-00165(TSC), United
States v. Douglas K. Wangler, 1:21-cr-00365(DLF), and United States v. Bruce J. Harrison, 1:21-cr-00365(DLF).
The government is abiding by its agreements in those cases, but has made no such agreement in this case. Cf. United
States v. Rosales-Gonzales, 801 F.3d 1177, 1183 (9th Cir. 2015) (no unwarranted sentencing disparities under 18
U.S.C. § 3553(a)(6) between defendants who plead guilty under a “fast-track” program and those who do not given
the “benefits gained by the government when defendants plead guilty early in criminal proceedings”) (citation
omitted).

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Doyle, Danielle   1:21-CR-00324-TNM   40 U.S.C. § 5104(e)(2)(G)   2 months’ home detention     2 months’
                                                                  36 months’ probation         $3,000 fin
                                                                  60 hours community service   $500 restit
                                                                  $500 restitution
Bennett,          1:21-CR-00227-JEB   40 U.S.C. § 5104(e)(2)(G)   3 months’ home detention     3 months’
Andrew                                                            36 months’ probation         24 months
                                                                  60 hours community service   80 hours c
                                                                  $500 restitution             $500 restit
Mazzocco,         1:21-CR-00054-TSC   40 U.S.C. § 5104(e)(2)(G)   3 months’ home detention     45 days’ in
Matthew                                                           36 months’ probation         60 hours c
                                                                  60 hours community service   $500 restit
                                                                  $500 restitution
Rosa, Eliel       1:21-CR-00068-TNM 40 U.S.C. § 5104(e)(2)(G)     30 days’ home detention      12 months
                                                                  36 months’ probation         100 hours
                                                                  60 hours community service   $500 restit
                                                                  $500 restitution




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Gallagher,          1:21-CR-00041-CJN   40 U.S.C. § 5104(e)(2)(G)   30 days’ home detention      24 months
Thomas                                                              36 months’ probation         60 hours c
                                                                    Fine                         $500 restit
                                                                    60 hours community service
                                                                    $500 restitution
Vinson, Thomas      1:21-CR-00355-      40 U.S.C. § 5104(e)(2)(G)   3 months’ home detention     5 years’ pr
                    RBW                                             3 years’ probation           $5,000 fin
                                                                    60 hours community service   120 hours
                                                                    $500 restitution             $500 restit
Dillon, Brittiany   1:21-CR-00360-DLF   40 U.S.C. § 5104(e)(2)(D)   3 months’ home detention     2 months’
                                                                    36 months’ probation         36 months
                                                                    60 hours community service   $500 restit
                                                                    $500 restitution
Sanders,            1:21-CR-00384-CJN   40 U.S.C. § 5104(e)(2)(G)   2 months’ home detention     36 months
Jonathan                                                            36 months’ probation         60 hours c
                                                                    60 hours community service   $500 restit
                                                                    $500 restitution
Fitchett, Cindy     1:21-CR-00041-CJN   40 U.S.C. § 5104(e)(2)(G)   2 months’ home detention     30 days’ h
                                                                    36 months’ probation         36 months
                                                                    60 hours community service   60 hours c
                                                                    $500 restitution             $500 restit
Sweet, Douglas      1:21-CR-00041-CJN   40 U.S.C. § 5104(e)(2)(G)   3 months’ home detention     30 days’ h
                                                                    36 months’ probation         36 months
                                                                    60 hours community service   60 hours c
                                                                    $500 restitution             $500 restit
Cordon, Sean        1:21-CR-00269-TNM 40 U.S.C. § 5104(e)(2)(G)     3 months’ home detention     2 months’
                                                                    36 months’ probation         $4000 fine
                                                                    60 hours community service   $500 restit
                                                                    $500 restitution




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Wilkerson, John   1:21-CR-00302-CRC   40 U.S.C. § 5104(e)(2)(G)   2 months’ home detention     36 months
IV                                                                36 months’ probation         $2500 fine
                                                                  60 hours community service   60 hours c
                                                                  $500 restitution             $500 restit
Jones, Caleb      1:21-CR-00321-JEB   40 U.S.C. § 5104(e)(2)(G)   3 months’ home detention     2 months’
                                                                  36 months’ probation         24 months
                                                                  60 hours community service   100 hours
                                                                  $500 restitution             $500 restit
Brown, Terry      1:21-CR-00041-CJN   40 U.S.C. § 5104(e)(2)(G)   45 days’ home detention      30 days’ h
                                                                  36 months’ probation         36 months
                                                                  60 hours community service   60 hours c
                                                                  $500 restitution             $500 restit
Wrigley,          1:21-CR-00042-ABJ   40 U.S.C. § 5104(e)(2)(G)   2 months’ home detention     18 months
Andrew                                                            36 months’ probation         $2000 fine
                                                                  60 hours community service   60 hours c
                                                                  $500 restitution             $500 restit
Parks, Jennifer   1:21-CR-00363-CJN   40 U.S.C. § 5104(e)(2)(G)   30 days’ home detention      24 months
                                                                  36 months’ probation         60 hours c
                                                                  60 hours community service   $500 restit
                                                                  $500 restitution
Reimler,          1:21-CR-00239-      40 U.S.C. § 5104(e)(2)(G)   2 months’ home detention     30 days’ h
Nicholas          RDM                                             36 months’ probation         36 months
                                                                  60 hours community service   60 hours c
                                                                  $500 restitution             $500 restit
Miller, Brandon   1:21-CR-00266-TSC   40 U.S.C. § 5104(e)(2)(G)   3 months’ home detention     20 days’ in
                                                                  36 months’ probation         60 hours c
                                                                  60 hours community service   $500 restit
                                                                  $500 restitution
Miller,           1:21-CR-00266-TSC   40 U.S.C. § 5104(e)(2)(G)   2 months’ home detention     14 days’ in
Stephanie                                                         36 months’ probation         60 hours c
                                                                  60 hours community service   $500 restit
                                                                  $500 restitution
Hatley, Andrew    1:21-CR-00098-TFH   40 U.S.C. § 5104(e)(2)(G)   2 months’ home detention     36 months
                                                                  36 months’ probation         $500 restit
                                                                  60 hours community service
                                                                  $500 restitution
Pert, Rachael     1:21-CR-00139-TNM   18 U.S.C. § 1752(a)(1)      3 months’ home detention     24 months
                                                                  24 months’ probation         100 hours
                                                                  40 hours community service   $500 restit
                                                                  $500 restitution
Winn, Dana        1:21-CR-00139-TNM 18 U.S.C. § 1752(a)(1)        3 months’ home detention     10 days’ in
                                                                  24 months’ probation         12 months
                                                                  40 hours community service   100 hours
                                                                  $500 restitution             $500 restit
Wickersham,       1:21-CR-00606-RCL   40 U.S.C. § 5104(e)(2)(G)   4 months’ home detention     3 months’
Gary                                                              36 months’ probation         36 months
                                                                  60 hours community service   $2000 fine
                                                                  $500 restitution             $500 restit
Schwemmer,        1:21-CR-00364-DLF   40 U.S.C. § 5104(e)(2)(G)   30 days’ home detention      24 months
Esther                                                            36 months’ probation         60 hours c

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                                                                  60 hours community service   $500 restit
                                                                  $500 restitution
Kelly, Kenneth    1:21-CR-00331-CKK   40 U.S.C. § 5104(e)(2)(G)   2 months’ home detention     2 months’
                                                                  36 months’ probation         12 months
                                                                  60 hours community service   $500 restit
                                                                  $500 restitution
Straka, Brandon   1:21-cr-00579-DLF   40 U.S.C. § 5104(e)(2)(D)   4 months’ home detention     3 months’
                                                                  36 months’ probation         36 months
                                                                  60 hours community service   $5000 fine
                                                                  $500 restitution             60 hours c
                                                                                               $500 restit
Sizer, Julia      1:21-CR-00621-CRC   40 U.S.C. § 5104(e)(2)(G)   2 months’ home detention     12 months
                                                                  36 months’ probation         $2,000 fin
                                                                  60 hours community service   $500 restit
                                                                  $500 restitution
Blauser,          1:21-CR-00386-TNM 40 U.S.C. § 5104(e)(2)(G)     3 months’ home detention     $500 fine
William                                                           36 months’ probation         $500 restit
                                                                  60 hours community service
                                                                  $500 restitution




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Barnard,           1:21-CR-00235-RC    40 U.S.C. §              30 days’ home detention       30 days’ h
Richard                                5104(e)(2)(G)            36 months’ probation          12 months
                                                                60 hours community service    60 hours c
                                                                $500 restitution              $500 restit
Witcher, Jeffrey   1:21-CR-00235-RC    18 U.S.C. § 1752(a)(1)   2 months’ home detention      12 months
                                                                36 months’ probation          60 hours c
                                                                60 hours community service    $500 restit
                                                                $500 restitution
McAlanis,          1:21-CR-00516-DLF   40 U.S.C. §              2 months’ home detention      24 months
Edward                                 5104(e)(2)(G)            36 months’ probation          60 hours c
                                                                60 hours community service    $500 restit
                                                                $500 restitution
Lollis, James      1:21-CR-00671-BAH   40 U.S.C. §              3 months’ home detention      3 months’
                                       5104(e)(2)(G)            36 months’ probation          36 months
                                                                100 hours community service   100 hours
                                                                $500 restitution              $500 restit
Schubert, Amy      1:21-CR-00588-ABJ   40 U.S.C. §              3 months’ home detention      18 months
                                       5104(e)(2)(G)            36 months’ probation          $2000 fine
                                                                60 hours community service    100 hours
                                                                $500 restitution              $500 restit
Schubert, John     1:21-CR-00587-ABJ   40 U.S.C. §              2 months’ home detention      18 months
                                       5104(e)(2)(G)            36 months’ probation          $1500 fine
                                                                60 hours community service    100 hours
                                                                $500 restitution              $500 restit
Orangias,          1:21-CR-00265-CKK   40 U.S.C. §              3 months’ home detention      3 months’
Michael                                5104(e)(2)(G)            36 months’ probation          36 months
                                                                $500 restitution              $500 restit
Quick, Michael     1:21-CR-00201-DLF   40 U.S.C. §              3 months’ home detention      36 months
                                       5104(e)(2)(G)            36 months’ probation          $1000 fine
                                                                $500 restitution              60 hours c
                                                                                              $500 restit
Quick, Stephen     1:21-CR-00201-DLF   40 U.S.C. §              2 months’ home detention      24 months
                                       5104(e)(2)(G)            36 months’ probation          $1000 fine
                                                                $500 restitution              60 hours c
                                                                                              $500 restit
Reda, Kenneth      1:21-CR-00452-TFH   40 U.S.C. §              2 months’ home detention      2 months’
                                       5104(e)(2)(G)            36 months’ probation          36 months
                                                                60 hours community service    60 hours c
                                                                $500 restitution              $500 restit
McCreary,          1:21-CR-00125-BAH   18 U.S.C. § 1752(a)(1)   3 months’ home detention      42 days’ in
Brian                                                           36 months’ probation          (condition
                                                                60 hours community service    2 months’
                                                                $500 restitution              36 months
                                                                                              $2,500 fin
                                                                                              $500 restit
Colbath, Paul      1:21-CR-00650-RDM   40 U.S.C. §              3 months’ home detention      30 day’s h
                                       5104(e)(2)(G)            36 months’ probation          36 months
                                                                60 hours community service    60 hours c
                                                                $500 restitution              $500 restit



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 Lewis, Jacob      1:21-CR-00100-CRC       40 U.S.C. §                 2 months’ home detention         24 months
                                           5104(e)(2)(G)               36 months’ probation             $3000 fine
                                                                       60 hours community service       60 hours c
                                                                       $500 restitution                 $500 restit
 Lentz, Nicholes   1:22-CR-00053-RDM       18 U.S.C. § 1752(a)(1)      2 months’ home detention         1 month h
                                                                       36 months’ probation             36 months
                                                                                                        100 hours
                                                                                                        $500 restit
 Daughtry,         1:21-CR00141-RDM        18 U.S.C. § 1752(a)(1)      4 month’s home detention         60 days’ h
 Michael                                                               36 months’ probation             36 months
                                                                       $500 restitution                 $500 restit


Table 3: Cases in which the government recommended a sentence of incarceration
 Defendant         Case Number             Offense of Conviction       Government Recommendation       Sentence Im
 Name
 Curzio, Michael   1:21-CR-00041-CJN       40 U.S.C. § 5104(e)(2)(G)   6 months’ incarceration (time   6 months’ i
                                                                       served)                         served)
                                                                                                       $500 restitu
 Hodgkins, Paul    1:21-CR-00188-RDM       18 U.S.C. § 1512(c)(2)      18 months’ incarceration        8 months’ i
                                                                                                       24 months’
                                                                                                       $2000 resti
 Dresch, Karl      1:21-CR-00071-ABJ       40 U.S.C. § 5104(e)(2)(G)   6 months’ incarceration (time   6 months’ i
                                                                       served)                         served)
                                                                       $1000 fine                      $500 restitu
                                                                       $500 restitution
 Jancart, Derek    1:21-CR-00148-JEB       40 U.S.C. § 5104(e)(2)(D)   4 months’ incarceration         45 days’ in
                                                                       $500 restitution                $500 restitu
 Rau, Erik         1:21-CR-00467-JEB       40 U.S.C. § 5104(e)(2)(D)   4 months’ incarceration         45 days’ in
                                                                       $500 restitution                $500 restitu
 Hemenway,         1:21-CR-00049-TSC       40 U.S.C. § 5104(e)(2)(G)   30 days’ incarceration          45 days’ in
 Edward                                                                $500 restitution                60 hours co
                                                                                                       $500 restitu
 Reeder, Robert    1:21-CR-00166-TFH       40 U.S.C. § 5104(e)(2)(G)   6 months’ incarceration         3 months’ i
                                                                       $500 restitution                $500 restitu
 Bauer, Robert     1:21-CR-00049-TSC       40 U.S.C. § 5104(e)(2)(G)   30 days’ incarceration          45 days’ in
                                                                       $500 restitution                60 hours co
                                                                                                       $500 restitu
 Smocks, Troy      1:21-CR-00198-TSC       18 U.S.C. § 875(c)          Low end of sentencing           14 months’
                                                                       guidelines                      36 months’
                                                                       36 months’ supervised release
 Vinson, Lori      1:21-CR-00355-RBW       40 U.S.C. § 5104(e)(2)(G)   30 days’ incarceration          60 months’
                                                                       $500 restitution                $5,000 fine
                                                                                                       120 hours c
                                                                                                       $500 restitu
 Griffith, Jack    1:21-CR-00204-BAH       40 U.S.C. § 5104(e)(2)(G)   3 months’ incarceration         3 months’ h
                                                                       $500 restitution                36 months’
                                                                                                       $500 restitu
 Torrens, Eric     1:21-CR-00204-BAH       40 U.S.C. § 5104(e)(2)(G)   14 days’ incarceration          3 months’ h
                                                                       $500 restitution                36 months’

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                                                                                                  $500 restitu
Gruppo,           1:21-CR-00391-BAH   40 U.S.C. § 5104(e)(2)(G)   30 days’ incarceration          3 months’ h
Leonard                                                           $500 restitution                24 months’
                                                                                                  $3,000 fine
                                                                                                  $500 restitu
Ryan, Jennifer    1:21-CR-00050-CRC   40 U.S.C. § 5104(e)(2)(G)   2 months’ incarceration         2 months’ i
                                                                  $500 restitution                $1000 fine
                                                                                                  $500 restitu
Croy, Glenn       1:21-CR-00162-BAH   40 U.S.C. § 5104(e)(2)(G)   2 months’ incarceration         14 days’ co
                                                                  $500 restitution                facility
                                                                                                  3 months’ h
                                                                                                  36 months’
                                                                                                  $500 restitu
Stotts, Jordan    1:21-CR-00272-TJK   40 U.S.C. § 5104(e)(2)(G)   45 days’ incarceration          2 months’ h
                                                                  $500 restitution                24 months’
                                                                                                  60 hours co
                                                                                                  $500 restitu
Fairlamb, Scott   1:21-CR-00120-RCL   18 U.S.C. § 1512(c)(2)      44 months’ incarceration        41 months’
                                      18 U.S.C. § 111(a)(1)       36 months’ supervised release   36 months’
                                                                  $2000 fine                      $2000 resti
Camper, Boyd      1:21-CR-00325-CKK   40 U.S.C. § 5104(e)(2)(G)   2 months’ incarceration         2 months’ i
                                                                  $500 restitution                60 hours co
                                                                                                  $500 restitu
Rukstales,        1:21-CR-00041-CJN   40 U.S.C. § 5104(e)(2)(G)   45 days’ incarceration          30 days’ in
Bradley                                                           $500 restitution                $500 restitu
Cordon, Kevin     1:21-CR-00277-TNM   18 U.S.C. § 1752(a)(1)      30 days’ incarceration          12 months’
                                                                  12 months’ supervised release   $4000 fine
                                                                  $500 restitution                100 hours c
                                                                                                  $500 restitu
Chansley, Jacob   1:21-CR-00003-RCL   18 U.S.C. § 1512(c)(2)      51 months’ incarceration        41 months’
                                                                  36 months’ supervised release   36 months’
                                                                  $2000 restitution               $2000 resti
Mish, David       1:21-CR-00112-CJN   40 U.S.C. § 5104(e)(2)(G)   30 days’ incarceration          30 days’ in
                                                                  $500 restitution                $500 restitu
Lolos, John       1:21-CR-00243-APM   40 U.S.C. § 5104(e)(2)(G)   30 days’ incarceration          14 days’ in
                                                                  $500 restitution                $500 restitu
Scavo, Frank      1:21-CR-00254-RCL   40 U.S.C. § 5104(e)(2)(G)   14 days’ incarceration          2 months’ i
                                                                  $500 restitution                $5000 fine
                                                                                                  $500 restitu
Abual-Ragheb,     1:21-CR-00043-CJN   40 U.S.C. § 5104(e)(2)(G)   30 days’ incarceration          2 months’ h
Rasha                                                             $500 restitution                36 months’
                                                                                                  60 hours co
                                                                                                  $500 restitu
Peterson,         1:21-CR-00309-ABJ   40 U.S.C. § 5104(e)(2)(G)   14 days’ incarceration          30 days’ in
Russell                                                           $500 restitution                $500 restitu
Simon, Mark       1:21-CR-00067-ABJ   40 U.S.C. § 5104(e)(2)(G)   45 days’ incarceration          35 days’ in
                                                                  $500 restitution                $500 restitu
Ericson,          1:21-CR-00506-TNM   40 U.S.C. § 5104(e)(2)(G)   2 months’ incarceration         20 days’ in
Andrew                                                            $500 restitution                weekends)
                                                                                                  24 months’

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                                                                                                   $500 restitu
Pham, Tam          1:21-CR-00109-TJK   40 U.S.C. § 5104(e)(2)(G)   2 months’ incarceration         45 days’ in
Dinh                                                               $500 restitution                $1000 fine
                                                                                                   $500 restitu
Nelson,            1:21-CR-00344-JDB   40 U.S.C. § 5104(e)(2)(G)   14 days’ incarceration          24 months’
Brandon                                                            $500 restitution                $2500 fine
                                                                                                   50 hours co
                                                                                                   $500 restitu
Markofski,         1:21-CR-00344-JDB   40 U.S.C. § 5104(e)(2)(G)   14 days’ incarceration          24 months’
Abram                                                              $500 restitution                $1000 fine
                                                                                                   50 hours co
                                                                                                   $500 restitu
Marquez, Felipe    1:21-CR-00136-RC    18 U.S.C. § 1752(a)(2)      4 months’ incarceration         3 month’s h
                                                                   12 months’ supervised release   18 months’
                                                                   $500 restitution                $500 restitu
Meredith,          1:21-CR-00159-ABJ   18 U.S.C. § 875(c)          Midrange of 37-46 months’       28 months’
Cleveland                                                          incarceration                   36 months’
                                                                   36 months’ supervised release
Sorvisto, Jeremy   1:21-CR-00320-ABJ   40 U.S.C. § 5104(e)(2)(G)   30 days’ incarceration          30 days’ in
                                                                   $500 restitution                $500 restitu
Mariotto,          1:21-CR-00094-RBW   40 U.S.C. § 5104(e)(2)(G)   4 months’ incarceration         36 months’
Anthony                                                            36 months’ probation            $5000 fine
                                                                   $500 restitution                250 hours c
                                                                                                   $500 restitu




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Courtright,      1:21-CR-00072-CRC   18 U.S.C. § 1752(a)(1)       6 months’ incarceration         30 days’ in
Gracyn                                                            12 months’ supervised release   12 months’
                                                                  60 hours community service      60 hours co
                                                                  $500 restitution                $500 restitu
Palmer, Robert   1:21-CR-00328-TSC   18 U.S.C. § 111(a) and (b)   63 months’ incarceration        63 months’
                                                                  36 months’ supervised release   36 months’
                                                                  $2000 restitution               $2000 resti
Thompson,        1:21-CR-00461-RCL   18 U.S.C. § 111(a) and (b)   48 months’ incarceration        46 months’
Devlyn                                                            36 months’ supervised release   36 months’
                                                                  $2000 restitution               $2000 resti
Edwards, Gary    1:21-CR-00366-JEB   40 U.S.C. § 5104(e)(2)(G)    14 days’ incarceration          12 months’
                                                                  24 months’ probation            $2500 fine
                                                                  $500 restitution                200 hours o
                                                                                                  $500 restitu
Tutrow, Israel   1:21-CR-00310-ABJ   40 U.S.C. § 5104(e)(2)(G)    2 months’ incarceration         2 months’ h
                                                                  $500 restitution                36 months’
                                                                                                  $500 restitu
Ridge IV,        1:21-CR-00406-JEB   18 U.S.C. § 1752(a)(1)       45 days’ incarceration          14 days’ co
Leonard                                                           12 months’ supervised release   12 months’
                                                                  60 hours community service      $1000 fine
                                                                  $500 restitution                100 hours c
                                                                                                  $500 restitu
Perretta,        1:21-CR-00539-TSC   40 U.S.C. § 5104(e)(2)(G)    30 days’ incarceration          30 days’ in
Nicholas                                                          $500 restitution                $500 restitu
Vukich,          1:21-CR-00539-TSC   40 U.S.C. § 5104(e)(2)(G)    30 days’ incarceration          30 days’ in
Mitchell                                                          $500 restitution                $500 restitu
Spencer,         1:21-CR-00147-CKK   40 U.S.C. § 5104(e)(2)(G)    3 months’ incarceration         3 months’ i
Virginia                                                          36 months’ probation            $500 restitu
                                                                  $500 restitution
Kostolsky,       1:21-CR-00197-DLF   40 U.S.C. § 5104(e)(2)(G)    30 days’ incarceration          30 days’ ho
Jackson                                                           $500 restitution                36 months’
                                                                                                  $500 restitu




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Rusyn, Michael    1:21-CR-00303-ABJ   40 U.S.C. § 5104(e)(2)(G)   45 days’ incarceration          2 months’ h
                                                                  $500 restitution                24 months’
                                                                                                  $2000 fine
                                                                                                  $500 restitu
Tryon, William    1:21-CR-00420-RBW   18 U.S.C. § 1752(a)(1)      30 days’ incarceration          50 days’ in
                                                                  12 months’ supervised release   12 months’
                                                                  $500 restitution                $1000 fine
                                                                                                  $500 restitu
Sells, Tanner     1:21-CR-00549-ABJ   40 U.S.C. § 5104(e)(2)(G)   14 days’ incarceration          3 months’ h
                                                                  36 months’ probation            24 months’
                                                                  60 hours community service      $1500 fine
                                                                  $500 restitution                50 hours co
                                                                                                  $500 restitu
Walden, Jon       1:21-CR-00548-DLF   40 U.S.C. § 5104(e)(2)(G)   14 days’ incarceration          30 days’ ho
                                                                  60 hours community service      36 months’
                                                                  $500 restitution                60 hours co
                                                                                                  $500 restitu
Prado, Nicole     1:21-CR-00403-RC    40 U.S.C. § 5104(e)(2)(G)   14 days’ incarceration          2 months’ 1
                                                                  36 months’ probation            12 months’
                                                                  60 hours community service      $742 fine
                                                                  $500 restitution                60 hours co
                                                                                                  $500 restitu
Williams, Vic     1:21-CR-00388-RC    40 U.S.C. § 5104(e)(2)(G)   14 days’ incarceration          2 months’ h
                                                                  36 months’ probation            12 months’
                                                                  60 hours community service      $1500 fine
                                                                  $500 restitution                60 hours co
                                                                                                  $500 restitu
Wiedrich, Jacob   1:21-CR-00581-TFH   40 U.S.C. § 5104(e)(2)(G)   3 months’ incarceration         3 months’ h
                                                                  36 months’ probation            36 months’
                                                                  $500 restitution                100 hours c
                                                                                                  $500 restitu
Stepakoff,        1:21-CR-00096-RC    40 U.S.C. § 5104(e)(2)(G)   14 days’ incarceration          2 months’ h
Michael                                                           36 months’ probation            12 months’
                                                                  60 hours community service      $742 fine
                                                                  $500 restitution                60 hours co
                                                                                                  $500 restitu
Scirica,          1:21-CR-00457-CRC   40 U.S.C. § 5104(e)(2)(G)   15 days’ incarceration          15 days’ in
Anthony                                                           $500 restitution                $500 fine
                                                                                                  $500 restitu
Crase, Dalton     1:21-CR-00082-CJN   40 U.S.C. § 5104(e)(2)(G)   30 days’ incarceration          15 days’ in
                                                                  36 months’ probation            (condition o
                                                                  60 hours community service      36 months’
                                                                  $500 restitution                60 hours co
                                                                                                  $500 restitu
Williams, Troy    1:21-CR-00082-CJN   40 U.S.C. § 5104(e)(2)(G)   30 days’ incarceration          15 days’ in
                                                                  36 months’ probation            (condition o
                                                                  60 hours community service      36 months’
                                                                  $500 restitution                60 hours co
                                                                                                  $500 restitu



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Languerand,         1:21-CR-00353-JDB   18 U.S.C. § 111 (a) and     51 months’ incarceration        44 months’
Nicholas                                (b)                         36 months’ supervised release   24 months’
                                                                    $2000 restitution               60 hours co
                                                                                                    $2000 resti
Wilson, Zachary     1:21-CR-00578-APM   40 U.S.C. § 5104(e)(2)(G)   14 days’ incarceration          45 days’ ho
                                                                    36 months’ probation            24 months’
                                                                    $500 restitution                60 hours co
                                                                                                    $500 restitu
Wilson, Kelsey      1:21-CR-00578-APM   40 U.S.C. § 5104(e)(2)(G)   14 days’ incarceration          30 days’ ho
                                                                    36 months’ probation            24 months’
                                                                    $500 restitution                60 hours co
                                                                                                    $500 restitu
McAuliffe,          1:21-CR-00608-RCL   40 U.S.C. § 5104(e)(2)(G)   14 days’ incarceration          2 months’ h
Justin                                                              36 months’ probation            36 months’
                                                                    $500 restitution                $500 restitu
Williams,           1:21-CR-00045-DLF   40 U.S.C. § 5104(e)(2)(G)   30 days’ incarceration          24 months’
Andrew                                                              24 months’ probation            60 hours co
                                                                    60 hours community service      $500 restitu
                                                                    $500 restitution
Leffingwell,        1:21-CR-00005-ABJ   18 U.S.C. § 111(a)(1)       27 months’ incarceration        6 months’ i
Mark                                                                36 months’ supervised release   24 months’
                                                                    $2000 restitution               200 hours c
                                                                                                    $2,000 rest
Wagner, Joshua      1:21-CR-00310-ABJ   40 U.S.C. § 5104(e)(2)(G)   30 days’ incarceration          30 days’ in
                                                                    36 months’ probation            $500 restitu
                                                                    $500 restitution
Stenz, Brian        1:21-CR-00456-BAH   40 U.S.C. § 5104(e)(2)(G)   14 days’ incarceration          14 days’ in
                                                                    36 months’ probation            of probatio
                                                                    60 hours community service      2 months’ h
                                                                    $500 restitution                36 months’
                                                                                                    $2500 fine
                                                                                                    $500 restitu
Schornak,           1:21-CR-00278-BAH   18 U.S.C. § 1752(a)(1)      4-6 months’ incarceration       28 days’ in
Robert                                                              12 months supervised release    14-day inte
                                                                    60 hours community service      2 months’ h
                                                                    $500 restitution                36 months’
                                                                                                    $500 restitu
Castro,             1:21-CR-00299-RBW   40 U.S.C. § 5104(e)(2)(G)   2 months’ incarceration         45 days’ in
Mariposa                                                            $500 restitution                $5000 fine
Sunstrum, Traci     1:21-CR-00652-CRC   40 U.S.C. § 5104(e)(2)(G)   14 days’ incarceration          30 days’ ho
                                                                    36 months’ probation            36 months’
                                                                    $500 restitution                $500 restitu
Register, Jeffrey   1:21-CR-00349-TJK   40 U.S.C. § 5104(e)(2)(G)   5 months’ incarceration         75 days’ in
                                                                    $500 restitution                $500 restitu
Johnson, Adam       1:21-CR-00648-RBW   18 U.S.C. § 1752(a)(1)      90 days’ incarceration          75 days’ in
                                                                    12 month’s supervised release   12 months’
                                                                    $5000 fine                      $5000 fine
                                                                                                    200 hours c
                                                                                                    $500 restitu


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Howell, Annie     1:21-CR-00217-TFH   18 U.S.C. § 1752(a)(1)      60 days’ incarceration          60 days’ in
                                                                  12 month’s supervised release   to be served
                                                                  $500 restitution                as a conditi
                                                                                                  36 months’
                                                                                                  60 hours co
                                                                                                  $500 restitu
Gonzalez,         1:21-CR-00115-CRC   40 U.S.C. § 5104(e)(2)(G)   3 months’ incarceration         24 months’
Eduardo                                                           $500 restitution                $1000 fine
                                                                                                  $500 restitu
Wilson, Duke      1:21-CR-00345-RCL   18 U.S.C. § 1512(c)(2)      46 months’ incarceration        51 months’
                                      18 U.S.C. § 111(a)(1)       $2000 + TBD restitution for     36 months’
                                                                  injured officer                 TBD restitu
Strong, Kevin     1:21-CR-00114-TJK   40 U.S.C. § 5104(e)(2)(G)   14 days’ incarceration          30 days’ ho
                                                                  36 months’ probation            24 months’
                                                                  $500 restitution                60 hours co
                                                                                                  $500 restitu
Bonet, James      1:21-CR-00121-EGS   18 U.S.C. § 1752(a)(1)      45 days’ incarceration          3 months’ i
                                                                  12 months’ probation            12 months’
                                                                  $500 restitution                200 hours c
                                                                                                  $500 restitu
Nalley, Verden    1:21-CR-00016-DLF   18 U.S.C. § 1752(a)(1)      14 days’ incarceration          24 months’
                                                                  12 months’ probation            60 hours co
                                                                  60 hours community service      $500 restitu
                                                                  $500 restitution
Carico, Michael   1:21-CR-00696-TJK   40 U.S.C. § 5104(e)(2)(G)   30 days’ incarceration          2 months’ h
                                                                  36 months’ probation            24 months’
                                                                  $500 restitution                $500 fine
                                                                                                  60 hours co
                                                                                                  $500 restitu
Little, James     1:21-CR-00315-RCL   40 U.S.C. § 5104(e)(2)(G)   30 days’ incarceration          60 days’ in
                                                                  36 months’ probation            36 months’
                                                                  $500 restitution                $500 restitu
Loftus, Kevin     1:21-CR-00081-DLF   40 U.S.C. § 5104(e)(2)(G)   30 days’ incarceration          36 months’
                                                                  36 months’ probation            60 hours co
                                                                                                  $500 restitu
Smith, Jeffrey    1:21-CR-00290-RBW   40 U.S.C. § 5104(e)(2)(G)   5 months’ incarceration         90 days’ in
                                                                  $500 restitution                24 months’
                                                                                                  200 hours c
                                                                                                  $500 restitu
Kelley, Kari      1:21-CR-00201-DLF   40 U.S.C. § 5104(e)(2)(G)   30 days’ incarceration          36 months’
                                                                  36 months’ probation            $500 restitu
                                                                  $500 restitution
Martin, Zachary   1:21-CR-00201-DLF   40 U.S.C. § 5104(e)(2)(G)   30 days’ incarceration          36 months’
                                                                  36 months’ probation            $1000 fine
                                                                  $500 restitution                60 hours co
                                                                                                  $500 restitu
Cudd, Jenny       1:21-CR-00068-TNM   18 U.S.C. § 1752(a)(1)      75 days’ incarceration          2 months’ p
                                                                  12 months’ supervised release   $5000 fine
                                                                  $500 restitution                $500 restitu


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Jackson,           1:21-CR-00484-RDM   40 U.S.C. § 5104(e)(2)(G)   2 months’ incarceration         36 months’
Micajah                                                            36 months supervised release    in residenti
                                                                   $500 restitution                $1,000 fine
                                                                                                   $500 restitu
Petrosh, Robert    1:21-CR-00347-TNM   18 U.S.C. § 641             4 months’ incarceration         10 days’ in
                                                                   12 months supervised release    12 months
                                                                   60 hours community service      $1,000 fine
                                                                   $938 restitution                $938 restitu
Ivey, Bryan        1:21-CR-00267-CRC   40 U.S.C. § 5104(e)(2)(G)   14 days’ incarceration          60 days’ ho
                                                                   36 months’ probation            36 months’
                                                                   $500 restitution                $500 restitu
                                                                   60 hours community service      60 hours co

Burress, Gabriel   1:21-CR-00744-TJK   40 U.S.C. § 5104(e)(2)(G)   14 days’ incarceration          45 days’ ho
                                                                   36 months’ probation            18 months’
                                                                   $500 restitution                $500 restitu
                                                                   60 hours community service      60 hours co

Pettit, Madison    1:21-CR-00744-TJK   40 U.S.C. § 5104(e)(2)(G)   14 days’ incarceration          45 days’ ho
                                                                   36 months’ probation            18 months’
                                                                   $500 restitution                $500 restitu
                                                                   60 hours community service      60 hours co

Coffman,           1:21-CR-00004-CKK   26 U.S.C. § 5861(d)         Middle of SGR                   46 months’
Lonnie                                 22 D.C. Code § 4504(a)      36 months’ probation            36 months
Fee, Thomas        1:21-CR-00133-JDB   40 U.S.C. § 5104(e)(2)(G)   30 days’ incarceration          24 months’
                                                                   36 months’ probation            $500 fine
                                                                   $500 restitution                $500 restitu
                                                                   60 hours community service      50 hours co
Herendeen,         1:21-CR-00278-BAH   18 U.S.C. § 1752(a)(1)      28 days’ incarceration          14 days’ in
Daniel                                                             36 months’ probation            2 months’ h
                                                                   $500 restitution                36 months’
                                                                   60 hours community service      $500 restitu
Zlab, Joseph       1:21-CR-00389-RBW   40 U.S.C. § 5104(e)(2)(G)   45 days’ incarceration          36 months’
                                                                   36 months’ probation            $500 fine
                                                                   $500 restitution                $500 restitu
                                                                   60 hours community service      200 hours c
Riddle, Jason      1:21-CR-00304-DLF   18 U.S.C. § 641             90 days’ incarceration          90 days inc
                                       40 U.S.C. § 5104(e)(2)(G)   12 months’ supervised release   offense
                                                                   $754 restitution                36 months’
                                                                                                   § 5104(e)(2
                                                                                                   $754 restitu
                                                                                                   60 days com
Fox, Samuel        1:21-CR-00435-BAH   40 U.S.C. § 5104(e)(2)(G)   30 days’ incarceration          2 months’ h
                                                                   36 months’ probation            36 months’
                                                                   $500 restitution                $2,500 fine
                                                                                                   $500 restitu
O’Brien, Kelly     1:21-CR-00633-RCL   18 U.S.C. § 1752(a)(1)      5 months’ incarceration         90 days’ in
                                                                   12 months’ supervised release   12 months’
                                                                   $500 restitution                $1,000 fine

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                                                                                                   $500 restitu
Hardin, Michael    1:21-CR-00280-TJK   40 U.S.C. § 5104(e)(2)(G)   45 days’ incarceration          30 day’s ho
                                                                   36 months’ probation            18 months’
                                                                   $500 restitution                $500 restitu
                                                                   60 hours community service      60 hours co
Hernandez,         1:21-CR-00747-JEB   18 U.S.C. § 1752(a)(1)      45 days’ incarceration          30 days’ in
Emily                                                              12 months’ supervised release   12 months’
                                                                   $500 restitution                $500 restitu
                                                                   60 hours community service      80 hours co
Merry, William     1:21-CR-00748-JEB   18 U.S.C. § 641             4 months’ incarceration         45 days’ in
                                                                   12 months’ supervised release   9 months’ s
                                                                   $500 restitution                80 hours co
                                                                   60 hours community service
Westover, Paul     1:21-CR-00697-JEB   40 U.S.C. § 5104(e)(2)(G)   3 months’ incarceration         45 days’ in
                                                                   $500 restitution                $500 restitu
O’Malley,          1:21-CR-00704-CRC   40 U.S.C. § 5104(e)(2)(G)   45 days’ incarceration          24 months’
Timothy                                                            36 months’ probation            20 hours co
                                                                   60 hours community service      $500 restitu
                                                                   $500 restitution
Reed, Blake        1:21-CR-00204-BAH   18 U.S.C. § 1752(a)(1)      3 months’ incarceration         42 days’ in
                                                                   12 months’ supervised release   3 months’ h
                                                                   $500 restitution                36 months’
                                                                                                   $2500 fine
                                                                                                   $500 restitu
Rebegila, Mark     1:21-CR-00283-APM   40 U.S.C. § 5104(e)(2)(G)   2 months’ incarceration         30 days’ ho
                                                                   36 months’ probation            24 months’
                                                                   $500 restitution                $2000 fine
                                                                                                   60 hours co
                                                                                                   $500 restitu
Watrous,           1:21-CR-00627-BAH   40 U.S.C. § 5104(e)(2)(G)   14 days’ incarceration          14 days’ in
Richard                                                            36 months’ probation            2 months’ h
                                                                   60 hours community service      36 months’
                                                                   $500 restitution                $2500 fine
                                                                                                   $500 restitu
Meteer, Clifford   1:21-CR-00630-CJN   40 U.S.C. § 5104(e)(2)(G)   75 days’ incarceration          60 days’ in
                                                                   36 months’ probation            36 months’
                                                                   60 hours community service      60 hours co
                                                                   $500 restitution                $500 restitu
Conover,           1:21-CR-00743-FYP   40 U.S.C. § 5104(e)(2)(G)   30 days’ incarceration          30 days’ re
Thomas                                                             36 months’ probation            36 months’
                                                                   60 hours community service      $2500 fine
                                                                   $500 restitution                60 hours co
                                                                                                   $500 restitu
Lavin, Jean        1:21-CR-00596-BAH   40 U.S.C. § 5104(e)(2)(G)   14 days’ incarceration          10 days’ in
                                                                   36 months’ probation            weekends)
                                                                   $500 restitution                2 months’ h
                                                                                                   36 months’
                                                                                                   $2500 fine
                                                                                                   $500 restitu



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Krzywicki,         1:21-CR-00596-BAH   40 U.S.C. § 5104(e)(2)(G)   30 days’ incarceration          36 months’
Carla                                                              36 months’ probation            3 months’ h
                                                                   $500 restitution                $500 restitu
Kulas, Christian   1:21-CR-00397-TFH   40 U.S.C. § 5104(e)(2)(G)   14 days’ incarceration          6 months’ p
                                                                   36 months’ probation            2 months’ h
                                                                   60 hours community service      $500 restitu
                                                                   $500 restitution
Kulas, Mark        1:21-CR-00693-TFH   40 U.S.C. § 5104(e)(2)(G)   14 days’ incarceration          6 months’ p
                                                                   36 months’ probation            2 months’ h
                                                                   60 hours community service      $500 restitu
                                                                   $500 restitution
Von Bernewitz,     1:21-CR-00307-CRC   40 U.S.C. § 5104(e)(2)(G)   14 days’ incarceration          60 days hom
Eric                                                               36 months’ probation            24 months’
                                                                   60 hours community service      $1000 fine
                                                                   $500 restitution                $500 restitu
Von Bernewitz,     1:21-CR-00307-CRC   40 U.S.C. § 5104(e)(2)(G)   45 days’ incarceration          30 days’ in
Paul                                                               36 months’ probation            $500 restitu
                                                                   60 hours community service
                                                                   $500 restitution
Ballesteros,       1:21-CR-00580-DLF   40 U.S.C. § 5104(e)(2)(G)   14 days’ incarceration          36 months’
Robert                                                             24 months’ probation            40 hours co
                                                                   60 hours community service      $500 restitu
                                                                   $500 restitution
Sarko, Oliver      1:21-CR-00591-CKK   40 U.S.C. § 5104(e)(2)(G)   30 days’ incarceration          30 days’ in
                                                                   36 months’ probation            36 months’
                                                                   60 hours community service      $500 restitu
                                                                   $500 restitution
Vuksanaj,          1:21-CR-00620-BAH   40 U.S.C. § 5104(e)(2)(G)   3 months’ incarceration         42 days’ in
Anthony                                                            36 months’ probation            14-day peri
                                                                   60 hours community service      3 months’ h
                                                                   $500 restitution                36 months’
                                                                                                   $2000 fine
                                                                                                   $500 restitu
Creek, Kevin       1:21-CR-00645-DLF   18 U.S.C. § 111(a)(1)       27 months’ incarceration        27 months’
                                                                   36 months’ supervised release   12 months’
                                                                   $2000 restitution               $2000 resti
Peart, Willard     1:21-CR-00662-PLF   40 U.S.C. § 5104(e)(2)(G)   30 days’ incarceration          2 months’ h
                                                                   36 months’ probation            36 months’
                                                                   60 hours community service      240 hours c
                                                                   $500 restitution                $500 fine
                                                                                                   $500 restitu
Webler,            1:21-CR-00741-DLF   40 U.S.C. § 5104(e)(2)(G)   3 months’ incarceration         45 days’ in
Matthew                                                            $500 restitution                $500 restitu
Mostofsky,         1:21-CR-00138-JEB   18 U.S.C. § 641             15 months’ incarceration        8 months’ i
Aaron                                  18 U.S.C. § 231             36 months’ supervised release   12 months
                                       (a)(3)                      $2000 restitution               each count
                                       18 U.S.C. § 1752(a)(1)                                      200 hours c
                                                                                                   $2000 resti
Entrekin,          1:21-CR-00686-FYP   40 U.S.C. § 5104(e)(2)(G)   105 days incarceration          45 days’ in
Nathan                                                             36 months’ probation            36 months’

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                                                                  60 hours community service      60 hours co
                                                                  $500 restitution                $500 restitu
Kidd, Nolan       1:21-CR-00429-CRC   40 U.S.C. § 5104(e)(2)(G)   90 days incarceration           45 days’ in
                                                                  36 months’ probation            $500 restitu
                                                                  60 hours community service
                                                                  $500 restitution
Baker, Stephen    1:21-CR-00273-TFH   40 U.S.C. § 5104(e)(2)(G)   30 days incarceration           9 days’ inte
                                                                  $500 restitution                24 months’
                                                                                                  $500 restitu
McDonald,         1:21-CR-00429-CRC   40 U.S.C. § 5104(e)(2)(G)   3 months’ incarceration         21 days’ in
Savannah                                                          36 months’ probation            $500 restitu
                                                                  60 hours community service
                                                                  $500 restitution
Honeycutt,        1:22-CR-00050-CJN   40 U.S.C. § 5104(e)(2)(G)   3 months’ incarceration         3 months’ i
Adam                                                              36 months’ probation            $500 restitu
                                                                  60 hours community service
                                                                  $500 restitution
Spain, Jr.,       1:21-CR-00651-DLF   40 U.S.C. § 5104(e)(2)(G)   30 days’ incarceration          36 months’
Edward                                                            36 months’ probation            60 hours co
                                                                  60 hours community service      $500 restitu
                                                                  $500 restitution
Kramer, Philip    1:21-CR-00413-EGS   40 U.S.C. § 5104(e)(2)(G)   30 days’ incarceration          30 days’ in
                                                                  36 months’ probation            $2500 fine
                                                                  60 hours community service      100 hours c
                                                                  $500 restitution                $500 restitu
Ehmke, Hunter     1:21-CR-00029-TSC   18 U.S.C. § 1361            4 months’ incarceration         4 months’ i
                                                                  36 months’ supervised release   36 months’
                                                                  $2,181 restitution              $2,181 rest
Chapman,          1:21-CR-00676-RC    40 U.S.C. § 5104(e)(2)(G)   45 days incarceration           3 month’s h
Robert                                                            36 months                       18 month’s
                                                                                                  $742 fine
                                                                                                  60 hours co
                                                                                                  $500 restitu
Timbrook,         1:21-CR-00361-TNM   40 U.S.C. § 5104(e)(2)(G)   90 days’ incarceration          14 days’ in
Michael                                                           36 months’ probation            be served o
                                                                                                  weekends,
                                                                                                  12 months’
                                                                                                  $500 restitu
Miller, Matthew   1:21-CR-00075-RDM   18 U.S.C. § 1512(c)(2)      51 months’ incarceration        33 months’
                                      18 U.S.C. § 111(a)(1)       36 month’s supervised release   24 months’
                                                                                                  $2000 resti
                                                                                                  100 hours c
Hemphill,         1:21-CR-00555-RCL   40 U.S.C. § 5104(e)(2)(G)   2 months’ incarceration         2 months’ i
Pamela                                                            36 month’s probation            36 month’s
                                                                                                  $500 restitu
Rubenacker,       1:21-CR-00193-BAH   18 U.S.C. § 231(a)(3)       46 months’ incarceration        41 months’
Greg                                  18 U.S.C. § 1512(c)(2)      36 months’ supervised release   36 months’
                                      18 U.S.C. § 111(a)                                          $2000 resti
                                      18 U.S.C. § 1752(a)(1)
                                      18 U.S.C. § 1752(a)(2)

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                                      18 U.S.C. § 1752(a)(4)
                                      40 U.S.C. § 5104(e)(2)(D)
                                      40 U.S.C. § 5104(e)(2)(E)
                                      40 U.S.C. § 5104(e)(2)(F)
                                      40 U.S.C. § 5104(e)(2)(G)
Johnson, Daniel   1:21-CR-00407-DLF   18 U.S.C. § 231(a)(3)       6 months’ incarceration         4 months’ i
                                                                  12 months’ supervised release   12 months
                                                                                                  $2000 resti
Johnson, Daryl    1:21-CR-00407-DLF   18 U.S.C. § 231(a)(3)       90 days’ incarceration          30 days’ in
                                                                  12 months’ supervised release   12 months’
                                                                                                  $2000 fine
                                                                                                  $2000 resti
Buhler, Janet     1:21-CR-00510-CKK   40 U.S.C. § 5104(e)(2)(G)   30 days’ incarceration          30 days’ in
                                                                  36 months’ supervised release   36 months’
                                                                                                  $500 restitu
Tagaris, Jody     1:21-CR-00368-JDB   40 U.S.C. § 5104(e)(2)(G)   30 days’ incarceration          24 months’
                                                                  36 months’ probation            $2000 fine
                                                                  $500 restitution                $500 restitu
                                                                                                  60 hours co
Heinl, Jennifer   1:21-CR-00370-EGS   40 U.S.C. § 5104(e)(2)(G)   14 days’ incarceration          14 days’ in
                                                                  36 months’ probation            24 months’
                                                                  $500 restitution                $500 restitu
Sywak, William    1:21-CR-00494-RC    40 U.S.C. § 5104(e)(2)(G)   45 days’ incarceration          2 months’ h
Jason                                                             36 months’ probation            12 months’
                                                                  60 hours community service      60 hours co
                                                                  $500 restitution                $500 restitu
Sywak, William    1:21-CR-00494-RC    40 U.S.C. § 5104(e)(2)(G)   30 days’ incarceration          4 month’s h
Michael                                                           36 months’ probation            24 months’
                                                                  $500 restitution                60 hours co
                                                                                                  $500 restitu
Laurens,          1:21-CR-00450-RC    40 U.S.C. § 5104(e)(2)(G)   30 days’ incarceration          60 days’ ho
Jonathan                                                          36 months’ probation            12 months’
                                                                  $500 restitution                $742 fine
                                                                                                  $500 restitu
                                                                                                  60 hours co
Cooke, Nolan      1:22-CR-00052-RCL   18 U.S.C. § 231(a)(3)       11 months’ incarceration        366 days’ i
                                                                  36 months supervised release    36 months
                                                                  $2000 restitution               $2000 resti
Barber, Eric      1:21-cr-00228-CRC   40 U.S.C. § 5104(e)(2)(G)   4 months’ incarceration         45 days inc
                                      22 D.C. Code 3212           36 months’ probation            24 months’
                                                                  $552.95 restitution             $552.95 res
Gold, Simone      1:21-CR-00085-CRC   18 U.S.C. § 1752(a)(1)      3 months’ incarceration         60 days’ in
                                                                  12 month’s supervised release   12 months’
                                                                  $500 restitution                $9,500 fine
                                                                  60 hours community service      $500 restitu
Griffin, Cuoy     1:21-CR-00092-TNM   18 U.S.C. § 1752(a)(1)      60 days’ incarceration          14 days’ in
                                                                  12 months’ supervised release   12 months’
Stackhouse,       1:21-CR-00240-BAH   40 U.S.C. § 5104(e)(2)(G)   45 days’ incarceration          14 days inte
Lawrence                                                          36 months’ probation            a condition
                                                                  $500 restitution                $500 restitu

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Baranyi,           1:21-CR-00062-JEB   18 U.S.C. § 1752 (a)(1)     4 months’ incarceration         90 days’ in
Lawrence                                                           12 months’ supervised release   12 months’
                                                                   $500 restitution                $500 restitu
Evans, Derrick     1:21-CR-00337-RCL   18 U.S.C. § 231(a)(3)       3 months’ incarceration         3 months’ i
                                                                   36 months’ supervised release   36 months’
                                                                   $2000 restitution               $2000 resti
                                                                                                   $2000 fine
Lucard, Carson     1:22-CR-00087-BAH   40 U.S.C. § 5104(e)(2)(G)   3 months’ incarceration         21 days’ in
                                                                   36 months’ probation            a condition
                                                                   $500 restitution                60 days hom
                                                                                                   $500 restitu
Cunningham,        1:21-CR-00603-RC    40 U.S.C. § 5104(e)(2)(G)   14 days’ incarceration          3 months’ h
Christopher                                                        36 months’ probation            12 months’
                                                                   $500 restitution                $1,113 fine
                                                                                                   $500 restitu
Prezlin,           1:21-CR-00694-TNM   40 U.S.C. § 5104(e)(2)(G)   14 days’ incarceration          10 months’
Brandon                                                            36 months’ probation            $2,500 fine
                                                                   $500 restitution                120 hours c
                                                                                                   $500 restitu
Weisbecker,        1:21-CR-00682-TFH   40 U.S.C. § 5104(e)(2)(G)   60 days’ incarceration          30 days inte
Philip                                                             36 months’ probation            a condition
                                                                   $500 restitution                $2,000 fine
                                                                                                   $500 restitu
Sidorski, Dennis   1:21-CR-00048-ABJ   18 U.S.C. § 1752 (a)(1)     12 months’ incarceration        100 days’ i
                                                                   12 months’ supervised release   12 months’
                                                                   $500 restitution                50 hours co
                                                                                                   $500 restitu
Bromley, Phillip   1:21-CR-00250-PLF   18 U.S.C. 1752(a)(2)        12 months’ incarceration        90 days’ in
                                                                   12 months’ supervised release   12 months’
                                                                   $500 restitution                $4,000 fine
                                                                                                   $2,000 rest
Revlett, Jordan    1:21-CR-00281-JEB   40 U.S.C. § 5104(e)(2)(G)   30 days’ incarceration          14 days’ in
                                                                   36 months’ probation            12 months’
                                                                   $500 restitution                80 hours co
                                                                                                   $500 restitu
Snow, Robert       1:22-CR-00030-TJK   40 U.S.C. § 5104(e)(2)(G)   14 days’ incarceration          12 months’
                                                                   36 months’ probation            60 hours co
                                                                   $500 restitution                $500 restitu
Torre, Benjamin    1:21-CR-00143-RC    40 U.S.C. § 5104(e)(2)(G)   14 days’ incarceration          12 months’
                                                                   36 months’ probation            $1,113 fine
                                                                   $500 restitution                60 hours co
                                                                                                   $500 restitu
Grace, Jeremey     1:21-CR-00492-JDM   18 U.S.C. § 1752 (a)(1)     60 days’ incarceration          21 days’ in
                                                                   12 months’ supervised release   12 months’
                                                                   60 hours community service      60 hours co
                                                                   $500 restitution                $500 restitu
Getsinger, John    1:21-CR-00607-EGS   40 U.S.C. § 5104(e)(2)(G)   45 days’ incarceration          60 days’ in
                                                                   36 months’ probation            36 months’
                                                                   $500 restitution                100 hours c
                                                                                                   $500 restitu

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Getsinger,        1:21-CR-00607-EGS   40 U.S.C. § 5104(e)(2)(G)   45 days’ incarceration          60 days’ in
Stacie                                                            36 months’ probation            36 months’
                                                                  $500 restitution                100 hours c
                                                                                                  $500 restitu
Suarez, Marissa   1:21-CR-00205-DLF   40 U.S.C. § 5104(e)(2)(G)   14 days’ incarceration          36 months’
                                                                  36 months’ probation            60 hours co
                                                                  $500 restitution                $2000 fine
                                                                                                  $500 restitu
Todisco,          1:21-CR-00205-DLF   40 U.S.C. § 5104(e)(2)(G)   14 days’ incarceration          36 months’
Patricia                                                          36 months’ probation            60 hours co
                                                                  $500 restitution                $2000 fine
                                                                                                  $500 restitu
Blair, David      1:21-CR-00186-CRC   18 U.S.C. § 231(a)(3)       8 months’ incarceration         5 months’ i
                                                                  36 months’ supervised release   18 months’
                                                                  $2000 restitution               $2,000 rest
Griswold,         1:21-CR-00459-CRC   18 U.S.C. § 231(a)(3)       5 months’ incarceration         75 days’ in
Andrew                                                            36 months’ supervised release   24 months’
                                                                  $2,000 restitution              $2,000 rest




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